      1                  IN THE UNITED STATES DISTRICT COURT

      2        FOR THE EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

      3        UNITED STATES OF AMERICA,

      4             Plaintiff,

      5


      6        vs                              Case No. 2:18-cr-00140
      7


      8        ANDREW ASSAD, ET AL,

      9             Defendants.

     10


     11                       TRANSCRIPT OF MOTION HEARING

     12                               April 3, 2019

     13                 Honorable Clifton L. Corker Presiding

     14        APPEARANCES:

     15        For Plaintiff:       T. J. HARKER, ESQ.

     16                             WILLIAM ROACH, ESQ.

     17        For Defendants:      PAUL M. SISCO, ESQ.

     18                             ANN C. SHORT, ESQ.

     19                             RICHARD RODRIGUEZ, ESQ.

     20                             RACHEL MAY ZYSK, ESQ.

     21                             EDDIE SUAREZ, ESQ.

     22                             MORRIS PURCELL, JR., ESQ.

     23                             GREGORY W. KEHOE, ESQ.

     24                             DALE R. SISCO, ESQ.

     25                             DONALD A. BOSCH, ESQ.


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      1                    MS. OTTINGER:    The United States District

      2        Court for the Eastern District of Tennessee, the

      3        Honorable Clifton L. Corker presiding, is now in

      4        session.   Please be seated.

      5                    THE COURT:     All right.   Good morning.

      6                    ALL:   Good morning, Your Honor.

      7                    THE COURT:     Do you want to call the case?

      8                    MS. OTTINGER:    Yes, Your Honor.    Case

      9        Number 2:18-cr-140, the United States of America

     10        versus Andrew Assad, et al.

     11                    THE COURT:     All right.   We're here today

     12        on two motions, the joint motion for a Bill of

     13        Particulars and the Motion to Strike the Surplusage

     14        in the indictment, and I guess it's the defendant's

     15        motion to -- who wants to -- do all of you all want

     16        to argue the case, or who wants to go first as far as

     17        the defendants?

     18                    MR. FOSTER:    Sir, my name is Todd Foster.

     19        I'd like to go first.     I believe other counsel have

     20        arguments to make as well.

     21                    THE COURT:     Oh, that is absolutely fine.

     22                    MR. KEHOE:    Yes, Your Honor.    I'm Greg

     23        Kehoe.   I represent Myers, Smith, Alpha-Omega,

     24        Germaine, Zoetic, Tanith and ULD, and I'll be

     25        offering for those.


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      1                   THE COURT:     Okay.    That's not a problem at

      2        all, and I'm happy to have all of you if you want to

      3        to argue as well after Mr. -- is it Mr. Sisco?

      4                   MR. FOSTER:    Foster.

      5                   MR. PAUL SISCO:     Yes, Sir.

      6                   THE COURT:     Okay.    Mr. Sisco is on the

      7        phone.   Is that right?

      8                   MR. DALE SISCO:     There's two of us, Judge.

      9                   THE COURT:     All right.

     10                   MR. DALE SISCO:     Dale Sisco is on the

     11        phone.   I represent Alpha-Omega Pharmacy, Germaine

     12        Pharmacy and Zoetic Pharmacy.

     13                   THE COURT:     Okay.    And, Mr. Foster, you're

     14        representing Peter Bolos?

     15                   MR. FOSTER:    Yes, Sir.

     16                   THE COURT:     Okay.    That's why I've got my

     17        thing screwed up here.     Okay.

     18                   MR. PAUL SISCO:     And, Your Honor, just to

     19        be clear, I'm the other Sisco, Paul Sisco for Andrew

     20        Assad.

     21                   THE COURT:     Okay.    All right.

     22                   MR. PAUL SISCO:     Thank you.

     23                   THE COURT:     All right.    Well, Mr. Foster,

     24        do you want, do you want to be heard?

     25                   MR. FOSTER:    Yes, I do.    Good morning


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      1        again, Judge.

      2                     THE COURT:    Good morning.

      3                     MR. FOSTER:   Well, Judge, in regard to the

      4        Motion for the Bill of Particulars, we all understand

      5        that it's fairly commonplace for as many lawyers and

      6        defendants in many cases, but this case is a little

      7        different.    Actually, it's a lot different, and I

      8        think that the circumstances of this case are more

      9        compelling for the relief that we're requesting.         I'd

     10        like to discuss for a few minutes why I think that is

     11        the case.

     12                     Of course, the standard for the Court to

     13        apply in deciding whether or not to grant the Bill of

     14        Particulars is whether or not it is necessary in

     15        order to avoid surprise for the defendants, for the

     16        defendants to be surprised if they are not provided

     17        with the additional information, the detail of the

     18        proceeding, the specifics that they seek.        And in a

     19        case like this with this indictment with the way that

     20        this case is tried, plainly, plainly, I believe that

     21        we are entitled to that.      Well, Sir, if we go through

     22        the indictment, we don't have to go very far really

     23        to make a point.    If we go to Paragraph 1 of the

     24        indictment on the second page, the first thing that

     25        strikes me, jumps out at me is that the indictment


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      1        alleges that there are people, the defendants and

      2        others known, persons and entities known to the grand

      3        jury that are not charged therein.       That's not just

      4        people.   He's not talking about -- the grand jury is

      5        not only talking about unindicted co-conspirators,

      6        which heretofore the government has not disclosed to

      7        us, they're talking about uncharged entities,

      8        unnamed, unnamed.    So, of course, when we talk about

      9        unindicted co-conspirators, there is a whole body of

     10        dangerous evidence that comes in from that type of

     11        charging language.     So we could go to trial, and an

     12        unindicted co-conspirator, co-conspirator's statement

     13        is offered into evidence, and it's like finding Mr.

     14        Bolos who like, "Who's that?      We've never heard of

     15        this person."    Of course, under the rule, 806 for

     16        example, Federal Rule 806, we're entitled to present

     17        evidence to impeach the credibility of the

     18        co-conspirator declarant, but if we don't know who

     19        the co-conspirator declarant is, how can we prepare

     20        to impeach him or her?     So we need to know that

     21        unless the government is going to take the position,

     22        and I don't expect they will, that they don't intend

     23        to offer co-conspirator testimony, co-conspirator

     24        hearsay testimony, then I think we need to know that.

     25        We need to know who these co-conspirators are,


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      1        and we need to know in advance of the trial, far in

      2        advance of the trial, and we need to know who these

      3        unindicted entities are also.      Because as we go

      4        further into the charging language of this document,

      5        Judge -- if they're relying on Page 2, it says that

      6        "The conspiracy was to deceive tens of thousands of

      7        patients," tens of thousands of the patients.         And in

      8        the trial, of course, the Court instructs the jury

      9        that if you find that the defendant acting in

     10        furtherance of the conspiracy on only one occasion,

     11        you may find that person guilty of conspiracy.

     12                    So here we're getting some vague indication

     13        that there are tens of thousands of patient claims

     14        which were within the possession and control of the

     15        government, and we don't know.      Are they going to put

     16        in Number 5, 10, 25, 1,050?      We need to know which

     17        specific claims they say are fraudulent so that we

     18        can prepare the defendant.      How can we defend -- how

     19        can we prepare to proceed with it?       How could we

     20        conceivably prepare to defend against tens of

     21        thousands of patient claims?       We just can't.     And

     22        even if the government would say, "Okay, Little

     23        Defense.   Here they are.     We've provided you.     Here's

     24        50,000 patient claims.     You've got them there."

     25        Well, okay.    Which ones do you intend to use?       Which


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      1        ones do you intend to prove because the cases talk

      2        about that, and some of the cases which were cited

      3        within the pleadings say that in instances where

      4        there's like very, very broad discovery, we're more

      5        entitled to a Bill of Particulars because how do you

      6        pick and choose?    You have 25,000 patient claims

      7        there.   The government has to tell us.       "Okay.   We'll

      8        get this one, this one" or some range.        We're

      9        entitled to some notice so that we can prepare so

     10        we're not surprised when we get to court and say,

     11        "Oh, my gosh.    What is this?"    Entities.    What

     12        entities?    What are the other entities known to the

     13        grand jury which are not charged herein?

     14                     Well, anyway, the government knows who

     15        these -- or what these entities and who these people

     16        are because it says "known to the grand jury."         So

     17        there's a list somewhere in the government's office

     18        where, "Okay.    These are the unindicted

     19        co-conspirators," or "These are the entities which we

     20        think were involved in the trial, but we're not going

     21        to list any of them."     Okay.   Well, if you plead them

     22        -- it seems to me, if you plead them, you intend to

     23        prove them.    So if you intend to prove them, we

     24        should be entitled to notice and the opportunity to

     25        prepare and there's no prejudicial surprise at the


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      1        trial.   Now if the government says, "Listen, we're

      2        not going to prove any of that," that's another

      3        story.

      4                     THE COURT:    What do you make of their

      5        response that, you know, they have been basically

      6        holding book by giving you all this discovery that

      7        addresses your concern that you're raising right here

      8        about unnamed entities and whatnot and the claims

      9        that they intend to prove?

     10                     MR. FOSTER:   Well, it's in this mass of

     11        these -- I don't have any documents, a million

     12        documents or we have thousands of recordings.         So

     13        just because it's in this haystack of information

     14        doesn't mean that we could reasonably and effectively

     15        go through and prepare.

     16                     THE COURT:    Why is that?   I mean if that's

     17        what they're saying, this is their case.

     18                     MR. FOSTER:   Yeah.

     19                     THE COURT:    I mean if they're saying this

     20        is the evidence, and we didn't -- the volume of it is

     21        enormous.    I can see that.    And if they say -- if the

     22        response is, "Well, here is the discovery.        Here are

     23        the other entities, and here's the manner of this

     24        conspiracy, and we're giving you all these documents

     25        that prove what we're trying to -- what we've alleged


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      1        in the indictment," does that not, does that not

      2        answer some of your issues, or does it not?

      3                    MR. FOSTER:    It's a step, but I think we've

      4        done some narrowing down.

      5                    THE COURT:     So I guess that's the real

      6        question, is do you want by the Bill of Particulars,

      7        want me to tell them, "All right.        I know you've

      8        given them a vast universe of information.        Now I

      9        want you to narrow it down to what are you actually

     10        going use at trial?"      So you actually...

     11                    MR. FOSTER:    What are you actually going to

     12        use at trial, who are the unindicted co-conspirators?

     13                    THE COURT:     Okay.

     14                    MR. FOSTER:    All right.    You've alleged,

     15        and we're going to talk about the evidence, and we'll

     16        bring it up, and the jury can, the jury can convict

     17        people based upon a co-conspirator's statements.          So

     18        somebody could take the witness stand and say, "Oh,

     19        yeah.   I know Peter Bolos.     A month after the first

     20        few with Scott Roix, and he told me, 'Boy, I hope you

     21        don't get caught, you know.        This is terrible

     22        stuff.'"   And I'm like, "What?       Who's this person?"

     23        It's just terribly unfair.      So I think I'll have to

     24        know that, and just because the government may have

     25        given us the names of that person along with the name


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     1       of 200 other people I don't think gets us there.          We

     2       need to know, especially if they're going to rely

     3       upon co-conspirator hearsay.

     4                   Now I'm not saying that they need you to

     5       tell us all the co-conspirator statements which they

     6       intend to get in throughout this.       That's more --

     7       I've not seen that really granted, but by asking, at

     8       least in many districts we've probably throwed the

     9       Middle District horrors.      I came from the Southern

    10       District of Texas before there, and I have seen in

    11       many districts that courts do exercise that

    12       discretion and say, "Tell them who the unindicted

    13       co-conspirators," and some prosecutors do it

    14       voluntarily.    And there's really no harm to the

    15       government, especially, Sir, with your observation

    16       that they say they've already given you those names

    17       somewhere in this mass of discovery.       "Well, just

    18       tell us which ones of the unindicted

    19       co-conspirators they wish no harm," and then we know,

    20       and then we can prepare.

    21                   There is also this item, more than 100

    22       doctors.   So does the government intend to prove

    23       allegations relating to 100 doctors?       Again, if they

    24       do, that's fine, and then we'll know what we have to

    25       do, but if their proof is something less than 100


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     1       doctors and it's there anyway, then they'll indict

     2       or as to taking control, we can rely on this pharmacy

     3       or this one or that one for this.       I don't

     4       necessarily, Sir, if I'd asked them for their theory

     5       of the case, I'm not asking for a prosecution memo.

     6       I'm just asking, "Just tell us what it is that you

     7       intend to prove.    Who generally are you saying are

     8       the people who we should be concerned about so we can

     9       prepare."    And respectfully, Judge, I don't think

    10       it's unreasonable.

    11                    If we look at Page 4, for example, of the

    12       indictment, Paragraph 8, it's alleged as we come down

    13       Larry Smith used Tanith and its employees to conceal

    14       his ownership.    Who's that?    So is there going to be

    15       testimony?    Presumably, that person is a

    16       co-conspirator.    Presumably, somebody is going to

    17       come in here and say, "Oh, yeah, I took all these

    18       steps so I could conceal this place of identity."

    19       Okay.   Well, if that person is going to be an

    20       unindicted co-conspirator, we should know who he is.

    21       And it's not that much.     It's not all that burdensome

    22       to give that to us.     They say so.

    23                    Paragraph 37, I'll read.    It says,

    24       "Beginning not later than June 1, 2015 and continuing

    25       through the duration of the conspiracy, other persons


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     1       and pharmacies known to the grand jury entered into

     2       agreements with Roix."     Okay.    Who?    Because they say

     3       entered into the conspiracy.       They came in through

     4       presumably their legal agreements.         So that if

     5       they're co-conspirators, and if the jury were to find

     6       they were conspirators, we're clearly responsible for

     7       their acts.    So we should have the opportunity to

     8       know who they are so we can defend the case.         So that

     9       we can come before this Court and say, "Well, we'd

    10       like to file a Motion in Limine because we think that

    11       this person or this entity or this group should be

    12       excluded for whatever reason under 401 and 403

    13       hearsay rules, whatever."

    14                  Paragraph 48, the bottom two sentences, "As

    15       a result, kickbacks from the Synergy principals,"

    16       that's our guy in Larry Smith, Mr. Kehoe's guy, "and

    17       others known to the grand jury."

    18                  THE COURT:     What paragraph is that?

    19                  MR. FOSTER:    Paragraph 48 on the bottom of

    20       Page 20, Sir.

    21                  THE COURT:     Twenty.

    22                  MR. FOSTER:    The second sentence from the

    23       bottom.

    24                  THE COURT:     All right.

    25                  MR. FOSTER:    Starting with "As a result."


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     1                    THE COURT:    All right.

     2                    MR. FOSTER:   "As a result, kickbacks from

     3       the Synergy principals, Larry Smith and others known

     4       to the grand jury, were the only source of revenue to

     5       help right what is wrong."      Okay.   So there's a

     6       kickback allegation in the indictment, and here

     7       they're saying that there are other people known to

     8       the grand jury during the course of the conspiracy

     9       who are also making kickbacks, it is alleged, to

    10       Scott Roix.    Well, Scott Roix has been provided as a

    11       witness.    They certainly know who these people are,

    12       and, Judge, if they're going to charge us with it,

    13       they should tell us what it is so we can defend it.

    14                    Judge, one of the drives to discovery that

    15       we received, it's got I think hundreds of thousands

    16       of recordings of patient calls.       Okay.   That's

    17       terrific.    So do we have to listen to the thousands

    18       of recordings if the government could say, "Okay,

    19       Guys.   You know, we intend to use maybe -- listen to

    20       these 300 - right? - without the other 2,500."         Okay.

    21       Just some direction, just some direction.        We are not

    22       asking for their theory of the case.

    23                    There's something else that strikes me in

    24       this case is that if this was a civil case, we could

    25       proffer Interrogatories and say, "Who are these


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     1       people?"    Right.   "What are these doctors?"     And we'd

     2       get it.    It's like commonplace.     Nobody needs to talk

     3       so much, and you get it.      And there were items about

     4       money, and here we're fighting for freedom because

     5       the numbers in this indictment are astronomical.

     6       It's just astronomical, and when there's so little

     7       burden to the government to provide us what we're

     8       asking and it really will help us avoid surprise and

     9       be able to effectively defend our clients in this

    10       case, it's really in light of anything, Sir.

    11       It's really something which merits the exercise of

    12       your discretion to compel the government to provide

    13       this.

    14                   There's something else, and I've read a lot

    15       of the transcript, the transcript of the other

    16       hearing before the Court, and something else that's

    17       like a real issue in this case, and I guess it'll

    18       come out in the severance motion.       The way this

    19       conspiracy is wrought, and I know in the pleadings

    20       there's a reference to the Katiachis (phonetically)

    21       case.    This is a very, very troublesome conspiracy

    22       allegation.    So you have Mr. Smith's vertical, and

    23       then you have the Synergy vertical.       These people

    24       don't know each other.     These people don't know each

    25       other.    They don't do business with each other.


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     1       They're competitors.     So you have a hub, which is

     2       Scott Roix, but what the case is, Katiachis, and I

     3       found a, I found a district court case from the

     4       Nashville Division, United States versus Adan,

     5       A-d-a-n, and the cite is 913 Fed. Sub. 2nd, 955, 913

     6       Fed. Sub. 2nd, 955, and that was a reversal of a

     7       conspiracy prosecution because there, like here, you

     8       have these two verticals where they don't have a

     9       common goals.    You don't have injured defendants, and

    10       it's not a properly charged conspiracy.        It is a

    11       multiple conspiracy.     It is a rimless conspiracy.      So

    12       if this case were to go forward to a jury where we

    13       have this rimless conspiracy where all this business

    14       is going to be charged -- or proven, rather, related

    15       to Mr. Smith, and we don't know really who any of

    16       these people are and all of this is going to be

    17       proven concerning our people and they don't know

    18       really who we are and the jury is going to be told,

    19       "Well, you know, there are 194 -- it's almost a

    20       billion dollars in false things here, Ladies and

    21       Gentlemen, and these people are responsible, and if

    22       they're looking for a few acts -- you know, he's

    23       charged in conspiracy with Larry Smith," that would

    24       be -- you know, it's like -- it seems to me like he's

    25       involved.    It's just, it's just so treacherous for us


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     1       given the length of time, three years, the amount of

     2       claims, the amount of entities, the amount of

     3       patients, the amount of doctors.       I do not want any

     4       unindicted co-conspirators (inaudible).        I know that

     5       Mr. Roix, who pled guilty, his family worked for him

     6       at HealthRight.    So are they co-conspirators?       It'd

     7       be good to know.    Right?     Are they going to testify?

     8       Okay.   We're not (inaudible).      Just let us know how

     9       we can -- And the fact that we may get a witness down

    10       the road, that's good.     That's great, and that's

    11       something that is greatly appreciated by the

    12       government's offering to do that, but in this case

    13       with the trial date still a year out, it would be

    14       especially helpful to us to have access to that

    15       information now so we could prepare a more meaningful

    16       motion and more meaningful preparation and just make

    17       everybody's job easier.      Thank you, Judge.    Unless

    18       you have questions...

    19                  THE COURT:    No.    I think you've covered

    20       that very well, and I've read the briefs in this

    21       case, which were very well written, too.        All right.

    22       Who wants to argue next?

    23                  MR. SUAREZ:    Thank you, Your Honor.      Good

    24       morning, Your Honor.     Eddie Suarez on behalf of

    25       Michael Palso.    Your Honor, I intend to be very


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     1       brief.   I just want to supplement the presentation

     2       Mr. Foster made on behalf of the Synergy principals,

     3       Mr. Assad and Mr. Palso and Dr. Bolos.

     4                  Your Honor, to put some of Mr. Foster's

     5       comments in a little bit of context, I want to draw

     6       your attention to look at the Court's chronology and

     7       the size of the discovery.      We know -- and there's

     8       been a little bit of back and forth.       I think one of

     9       the footnotes in their response in opposition to our

    10       Motion for a Bill of Particulars, the government

    11       acknowledged that they represented as seven terra

    12       bytes of information initially, and they have now

    13       determined that a significant portion of that is

    14       roughly five or six terabytes that they have deemed

    15       to not be relevant or they also claim that it has not

    16       been reviewed by them.     So that's probably something

    17       for another day, but I think that we all agree that a

    18       terabyte document that has now been produced, and I

    19       think it's important to sort of conceptualize that or

    20       to frame it in terms of things that at least those of

    21       us lawyers of a certain vintage understand or can

    22       grasp a little clearer.     That is, what doe that

    23       mean in terms of paper because that's what at least

    24       I'm used to dealing with.

    25                  And so I went to a number of discovery


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     1       websites just to get some numbers, and some of those

     2       we put in our motion.     In terms of worded documents,

     3       we're talking about 86 million pages of documents.

     4       So when Mr. Foster talks about some of their

     5       questions that we have that need answered in order to

     6       properly prepare the defendants' case, it's not as

     7       simple as saying read 86 million pages in the next

     8       365 days, and you'll have your answer.        That is just

     9       an unsurmountable task.     It's just not realistic and

    10       cannot possibly lead to a just resolution, which is

    11       why I think we need some assistance from the Court in

    12       terms of directing the government to give us a

    13       response in the way of a Bill of Particulars.

    14                  I want to -- they just had one example, a

    15       factual example to what's in our motion and to Mr.

    16       Foster's presentation, and that is the amount of

    17       money the government is alleging.       So in the

    18       indictment in Pages 1 and 2 of Document 1, the

    19       government alleges that there is $174 million that

    20       was obtained by the conspirators and in false claims

    21       submitted to the tune of $931 million, almost a

    22       billion dollars.    Then in their response to our

    23       Motion for Bill of Particulars, Document 110 on Page

    24       2, the government says that the Synergy defendant

    25       received approximately $77 million and that Mr. Smith


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     1       and those entities received approximately $24

     2       million.   Well, if you add those two numbers up, you

     3       get somewhere in the $111 million or $112 million,

     4       which leaves a significant gap from the $174 million

     5       that's alleged in the conspiracy.       So just to keep

     6       the numbers simple, there's about $70 million that's

     7       missing by the number alleged by the government in

     8       the indictment, and we have no idea where that money

     9       went.   Who is it that received that money?       And where

    10       we stand right now, and presumably the government's

    11       direction was, is look to the 86 million pages that

    12       we provided you in order to find that answer, and

    13       then I go back to our -- that is just an unreasonable

    14       and it's an undoable task for us to do.        So with

    15       that, Your Honor, I'll sit down, and I thank you for

    16       -- unless you have questions.

    17                   THE COURT:    So your concern is with

    18       respect to the amount?     It's the identification of

    19       this other seventy some million dollars obtained by

    20       these other co-conspirators?      So you would like me to

    21       order them to give you that information to explain

    22       where they come up with the 174 so that you can say,

    23       "All right.    Here's the 174.    This is attributed

    24       Synergy 77, Smith 24, X, you know, another 77."

    25                   MR. SUAREZ:   That's right, Your Honor.       It


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     1       really coincides with Mr. Foster's request, and we

     2       have no idea who these other co-conspirators are, and

     3       so we have this universe presumably of

     4       co-conspirators that presumably, I'm guessing, is

     5       where this missing $70 million is.       I really don't

     6       know, but that would seem a logical conclusion.         So

     7       we have this significant pool of money.        We have no

     8       idea who it went to, and we have no idea who those

     9       people are and they're alleged to be co-conspirators

    10       with, who presumably gained this significant amount

    11       of money that we have no clue.      So in essence, yes,

    12       that is exactly what -- the identity of those

    13       individuals and the money that they allegedly made is

    14       among the things that we think would be appropriate

    15       for us to understand.

    16                  THE COURT:     Okay.

    17                  MR. SUAREZ:    Thank you, Your Honor.

    18                  THE COURT:     Thank you.

    19                  MR. KEHOE:    Good morning.    Greg Kehoe on

    20       behalf of Mr. Smith and Tanith and ULD and also in

    21       summary Alpha-Omega, Germane, and my co-counsel, Mr.

    22       Dale Sisco, who is on the line and is invited to get

    23       into anything with the Court's permission I think in

    24       the argument...

    25                  THE COURT:     Okay.


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     1                    MR. KEHOE:   ...and I will potentially

     2       address all of those, which is (inaudible)

     3       at the outset.    I know Your Honor from the arguments

     4       on the transfer, know that he said that he didn't

     5       (inaudible).    I mean this is a unique case, and when

     6       we look at a Bill of Particulars generally --know

     7       Your Honor is well familiar with the case law, that

     8       some Bill of Particulars are granted, motions are

     9       granted in certain cases, and some are not.

    10       (Inaudible) Bill of Particulars is not granted, and

    11       the case law is replete in that regard.        When it

    12       became more sophisticated or more complex as Mr.

    13       Harker has defined this case that had a nationwide

    14       scope with thousands of people involved, the

    15       complexity makes it much more difficult to defend,

    16       extremely difficult to defend.

    17                    We have a scenario here where there are

    18       conspirators known to the grand jury that none of the

    19       defendants theoretically have ever met, don't know

    20       anything about, are in Florida, are in Tennessee,

    21       doctors.   I think that there were 100 doctors listed

    22       that were supposedly deceived.      Where are they?      Are

    23       they here?    Are they in California?     Are they in

    24       Florida?   And how about the doctors who are

    25       complicit?    You know, there are two doctors, doctors


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     1       that are described by the government, some who were

     2       deceived and some who were complicit.       Who are they?

     3       Are they co-conspirators?      Are they co-conspirators

     4       known to the grand jury, and where are they?         As far

     5       as defending the case goes with the folks that are to

     6       my right and behind me, we have an obligation

     7       technically as Your Honor knows is to defend to the

     8       best of our ability.     And how are we supposed to

     9       defend this vast array of potential co-conspirators

    10       if we don'tknow who they are?      As Your Honor knows,

    11       under Rule 801(d)(2)(E) of the Federal Rules of

    12       Evidence, we're entitled to, of course, impeach the

    13       credibility of a declarant, albeit that declarant is

    14       not important.    How are we conceivably supposed to do

    15       that?   We have no range of knowledge of almost any

    16       number of -- any number of co-conspirators that are

    17       out there.    It's just impossible to get your arms

    18       around it.

    19                    And it's not helped by a variety of other

    20       factors, Judge.    I mean with regard to the conspiracy

    21       itself, the dates, the location of the formation of

    22       the conspiracy.    The conduct in furtherance of the

    23       conspiracy is very vague in addition to the various

    24       unnamed actors and conduct that they have

    25       participated in.    When you overlay all of that


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     1       complexity and unknown on the fact that not only do

     2       we not know who these co-conspirators are, these

     3       defendants didn't even know each other.        We move into

     4       an area of extreme difficulty, and the one thing that

     5       Rule 7 is supposed to evade, which is surprise at

     6       trial.    I mean   isn't that -- that's really why we're

     7       here, Judge, because at the end of the day no one

     8       wants to be surprised at trial as to what is going to

     9       be brought before a jury of twelve.       And the way we

    10       have the landscape right now it's impossible to know.

    11       You weigh that data upon facts, circumstances and

    12       involvement on the issues concerning what's illegal

    13       and not illegal.    I am somewhat baffled by some of

    14       the arguments that have been advanced by the

    15       government using language like -- and I know this is

    16       some degree in the surplusage of argument, using

    17       language like advanced AWP, you know, average

    18       wholesale price.    What is that?     They throw this

    19       around like it's, you know, sewer gas.        It makes a

    20       lot of noise, and it looks terrible. I think what is

    21       that?    I mean I think one of the things even for the

    22       Court, if you're going to use this in some area that

    23       shows the complicity of all of these individuals

    24       allegedly doing nefarious things, please give us an

    25       idea of what average wholesale price, average whole


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     1       price is, given the fact that these defendants had

     2       nothing to do with setting the average whole price,

     3       nothing whatsoever.     And, of course, I can't keep

     4       talking about this at some length during the transfer

     5       hearing.    This use of the Florida statutes, that

     6       would be kind of just like jump some Florida statutes

     7       into the indictment, and the argument that I think I

     8       heard from Mr. Harker - I may be wrong.        You guys can

     9       correct me - was that, "No.      We want to make sure

    10       that there's an advice of counsel defense," all of a

    11       sudden shot that little thing in there, but we really

    12       don't expect a juror to have to understand Florida

    13       statutes.    So, you know, we haven't just put it in

    14       there to prevent that defense.      Some idea, Judge, of

    15       what the government's position is of that given that

    16       this is an indictment leaves most of us, you know, in

    17       the dark without some further explanation.        And we

    18       can talk about that to some degree, and if I could

    19       just touch on that as I go through this chapter and

    20       verse, Judge, later on as well as the briefs in this

    21       matter and discuss -- excuse me, and thought through

    22       the competing arguments that have been laid out.         I

    23       think the first at the outset is the discovery here.

    24       Obviously, we were given, additionally given seven

    25       terabytes of information and now there's something in


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     1       -- Mr. Harker said now there's something in error,

     2       one terabyte, which don't ask him he bases that is,

     3       but I can tell you one thing - it's a lot, and

     4       through that we're supposed to decipher through

     5       exactly what's pertinent and what's not.        And he

     6       likewise argues that this was, you know -- I believe

     7       that he argued that it was discoverable.        It was easy

     8       to wind your way through and find out exactly what

     9       was going on.    With all due respect to my learned

    10       friend, Mr. Harker, frankly nothing is further from

    11       the truth.    If you look at the first hard drive,

    12       there are 634 files, 634 in just the first hard

    13       drive.   None of it's OCR, and you have to go

    14       literally through each individual file to find out

    15       what's in it.    The data is not searchable.      I don't

    16       know how, and maybe the government's got a different

    17       searchable system than the rest of us, but I don't

    18       know how that we -- and we can argue that files like

    19       this are searchable, but nothing is OCR.        It makes it

    20       extremely, extremely difficult.       So you end up having

    21       to go through this maze to try, Number 1, to get it

    22       open and, Number 2, to figure out where it fits into

    23       all of this.

    24                    THE COURT:   So what I hear you saying is

    25       that the discovery may have been given to you that


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     1       may address a lot of these things, but the way in

     2       which it is presented, it is, it is an enormous

     3       burden to go through because of the number of files.

     4       It's not searchable, and it's kind of like -- is it

     5       not organized?    Is it just a...

     6                    MR. KEHOE:   There was no way.    When you go

     7       in to see the file, then you tell me, Ladies and

     8       Gentlemen.    Correct me if I'm wrong.     The files are

     9       not listed.    They're not described.     They're just

    10       files.    In the first, in the first typed part, it

    11       says 635.    There's no idea what it is.      It's just

    12       this array of stuff that's in there, and it's

    13       equivalent to the old days, Judge, of when we harken

    14       back to trying cases many years ago where, you know,

    15       the government would tell the defense lawyer, "Here's

    16       a warehouse full of stuff.      Your stuff is in there,

    17       and have at it," and kind of figure out what you

    18       need.    So that likewise meets the argument, "Well,

    19       oh, in fact, we turned everything over," but, you

    20       know, you spend the basic part of your adult life

    21       over the course of several years to try to look at

    22       it.   Suffice it to say, Judge, the rules don't

    23       contemplate that.    Certainly, Rule 7 doesn't

    24       contemplate that.    It contemplates a rational

    25       approach to discovery to allow the ladies and


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     1       gentlemen to my right to do -- to perform their

     2       ethical jobs, to meet their ethical standard and

     3       defend their clients, and when they walk into a

     4       courtroom, no one is surprised at trial about pieces

     5       of evidence and the array of matters that the

     6       government is disposed.     The way it is right now

     7       there is no way to get your arms around this without

     8       literally spending hours and hours and hours between

     9       now and next April to do just that, and I just -- I

    10       submit to Your Honor that the rule doesn't

    11       contemplate that.    The purpose of Rule 7...

    12                    THE COURT:   What do you want me to do -

    13       just order them to identify the specific items of

    14       evidence?    Is that what you're asking me to do is...

    15                    MR. KEHOE:   I think the government thinks,

    16       Judge, consistent with what colleagues have said is

    17       it's not like identification of, you know, what --

    18       who are these co-conspirators that are known to the

    19       grand jury?    That will at least give us some idea of

    20       who is pertinent in this array of documentation and

    21       who is not.

    22                    The second thing is, is there's -- I

    23       assume, I assume that the government has this

    24       documentation and is going to employ that, use that

    25       documentation during the course of their


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     1       investigation or in trial; that they have some theory

     2       as to where all this information has to go or what is

     3       it.   That's not asking them for a theory of the case,

     4       but it's just asking, you know, identify what is on

     5       all of these files?     Why is this stuff pertinent as

     6       opposed to just turning to it and say, "Here it is."

     7                  THE COURT:     So you want them to go through

     8       each of the files and say what's perking?        Is that

     9       what you want me to do?

    10                  MR. KEHOE:    What I'd like, Judge, is to

    11       maybe go through these files and when you open up the

    12       634 files, what's in each one of those 634 files.

    13       Are some of them irrelevant, of no consequence?

    14       What's in the 634 files?      That's the only...

    15                  THE COURT:     And you can see what's in it.

    16       Right?   You can open up the files?

    17                  MR. KEHOE:    You can open up a file, and you

    18       -- you can open up the files, and there is -- you

    19       open up a folder, and within that folder there are

    20       files.

    21                  THE COURT:     Right.

    22                  MR. KEHOE:    I mean you can do that.

    23                  THE COURT:     I mean I don't know.     I don't

    24       -- I haven't been given discovery, and I haven't

    25       looked at discovery.     I just want to -- I want to


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     1       make sure I'm understanding the way in which the

     2       government has provided you all with information.

     3       That's my issue.    And if I hear you say you can't

     4       even see what's in the file or we don't even know

     5       what's in the file or what's pertinent or we don't

     6       know anything about it, that tells me something -

     7       that maybe -- are you not -- is it not -- are they

     8       not giving you the stuff that you can actually look

     9       at, or is there...

    10                    MR. KEHOE:   You can't search in it.

    11                    THE COURT:    You can look at it, but you

    12       can't, you can't search it, or is it not openable or

    13       what?

    14                    MR. KEHOE:   It's openable.

    15                    THE COURT:    Okay.

    16                    MR. KEHOE:   It's openable.   I don't even --

    17       let's look at where you start.      You start with seven

    18       terabytes.    That was handed over to us.      That's an

    19       enormous amount of information.

    20                    THE COURT:    Right.

    21                    MR. KEHOE:   I assume that was given over to

    22       us because the government wants some flexibility,

    23       that within that seven terabytes of information they

    24       can say should they decide to use it, "We gave it to

    25       you."   That's Number 1.    That's a tremendous amount


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     1       of information.

     2                    THE COURT:   They've reduced it down to one.

     3       Right?

     4                    MR. KEHOE:   For all intents and purposes,

     5       Judge.

     6                    THE COURT:    Okay.

     7                    MR. KEHOE:   If, in fact, we get to trial,

     8       are we limited to that one terabyte of information?

     9       Is that a stipulation, that we're not going to use

    10       any documentation or information or anything other

    11       than that?    Because if that's the case, of course,

    12       you know, we'll ignore the six terabytes that they're

    13       not going to get involved in.       But that -- if that's

    14       not the case, then we're still being -- it's

    15       incumbent upon us to find out what's in that.

    16                    The second thing is, Judge, I assume the

    17       government has got some methodology to search these

    18       files.   In the first -- you know, in the first hard

    19       drive we received, do they OCR this stuff?        I mean

    20       was it, in fact, searchable?       If I put Larry Smith

    21       down in there, I can't search these files.        And this

    22       is something that is almost the standard in a civil

    23       case, not almost the standard.       It is the standard.

    24       I'm sure that every case that comes before Your

    25       Honor, you know, it has to be in searchable function


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     1       in the discovery that's given or no cases would move

     2       promptly through.    This is really -- we're not asking

     3       for something that is extraordinary here.        We're just

     4       asking for some methodology to give us some notice so

     5       we can, you know, properly and efficiently use our

     6       time to address the discovery that's before us.         And

     7       then I've been saying, Judge, these issues are not

     8       necessarily independent of one another.        When you're

     9       going through this, if you have an ID of who, in

    10       fact, for instance, if you know who the conspirators,

    11       co-conspirators known to the grand jury are, it makes

    12       your searches, of course, significantly more narrowed

    13       and more efficient, and you know what you're looking

    14       at, but now, because we didn't even know that, we're

    15       still in the dark as to what this -- who these names

    16       are in some of these documents.       It's a very

    17       difficult proposition, Judge, and it is not something

    18       I would say, Judge, that was handed to the Court and

    19       asked for a Bill of Particulars every day.        So this

    20       is a different, complex case over a significant

    21       period of time, over a significant geographical area

    22       involving millions and millions and millions of pages

    23       of records, and we're just asking for some type of

    24       help from the Court so we can navigate through this

    25       and get some clarity as to what the government's


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     1       position is, not only on who is involved, but also,

     2       you know, what documents are pertinent to this.

     3                  THE COURT:     Well, that's my question, and

     4       then you said you want to compel the government to

     5       identify the co-conspirators, and as far as all the

     6       documents are concerned, you'd like for them to give

     7       you files that are searchable.

     8                  MR. KEHOE:    Yes.

     9                  THE COURT:     Right?   And then identify

    10       which specific files that they intend to use.

    11                  MR. KEHOE:    Well, Judge, if, in fact -- if,

    12       in fact, we're not involving ourselves in six

    13       terabytes of information and we do not have to worry

    14       about it, is that the clear position that the

    15       government is taking in this matter; that the only

    16       pertinent information is on one terabyte of

    17       information, which -- I say one terabyte of

    18       information link.    It's not warehouses full of

    19       information.    It still is.    It's not clear to me that

    20       that's the case, but it has to come up with some type

    21       of -- we have to come up with some type of remedy,

    22       Judge, where when we're going into trial and the

    23       government -- the defendants aren't shocked by, A,

    24       some defendant that -- some co-conspirator that comes

    25       in that they've never met, they don't know anything


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     1       about, and we know that there's a distinct

     2       possibility that given the fact that these defendants

     3       didn't know each other and they're not going to be

     4       taken by surprise and that these defendants are not,

     5       you know, convicted on some co-conspirator statements

     6       made by someone that the government alleges was in

     7       furtherance of a conspiracy in another place and

     8       another time that they don't know anything about.

     9       It's just asking for additional information to

    10       clarify where the government is coming from.         And the

    11       government's answer to all of this, Judge, is, "Oh,

    12       it's all in the indictment."       Well, you know, Judge

    13       who's -- I have a simple question.       Who's the victim

    14       in this case?    Is it TriCare?    Is it the federal

    15       programs?    Is it the PBM's?    It was a horrendous

    16       warning that we were talking about individual

    17       customers.    Who is it?    I mean what -- to go on, what

    18       are inflated AWP's?     In Paragraph 43 they make

    19       allegation that employees were instructed to engage

    20       in test billing.     Who?   Which defendant?    Mr. Smith?

    21       Mr. Bolos?    Who?   I mean who created this list of

    22       inflated AWP medications, and as I said before, who

    23       are the doctors that were receiving it?        Who are the

    24       doctors that were complicit?      The government's answer

    25       to all of this is, "Read the Complaint."        That's not


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     1       helping, Judge.    That's not helping.

     2                  My question, Judge, at the risk of

     3       repeating myself, we've also asked for some clarity

     4       to understand exactly what the government thinks is

     5       relief, not the least of which is the recitation of

     6       the Florida statutes.     Putting aside the fact that

     7       this is clearly two conspiracies, two -- looking in

     8       the light most favorable to the government, this is

     9       two conspiracies and not one.      These defendants

    10       didn't know each other.     If you look at Paragraph,

    11       you know, 32 of the indictment, it says that all of

    12       these defendants knew -- agreed to operate together.

    13       Well, they didn't even know each other.        God knows

    14       what the evidence is concerning people who -- we

    15       don't even have their name on the radar screen here.

    16       There's got to be some additional clarification as

    17       to, putting aside some clarity of what the government

    18       is saying is illegal, some idea of equal events,

    19       locations and what the government is going to, going

    20       to advance during the course of this case so a

    21       defense can be prepared.      It is what Rule 7 requires.

    22       It does not permit the government to just venture

    23       into a variety of different areas and pick and choose

    24       what they want and then decide when it comes trial

    25       time, "This is what we're going to advance in front


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     1       of the jury," not even talking about when we get -- I

     2       mean this whole thing about money laundering, this

     3       whole theory that the money laundering is an

     4       intricate part of this conspiracy, albeit the

     5       government never tried -- never charges a 1956 or a

     6       1957 charge under Title 18, probably because they

     7       didn't get off probation for the money laundering

     8       section in Washington, but be that as it may, they

     9       throw around that argument, this idea of money

    10       laundering, and it's clearly a prejudicial argument.

    11       You know, but we're having to talk about that in the

    12       Motion to...

    13                  THE COURT:     Well, that's not in the Bill

    14       of Particulars?

    15                  MR. KEHOE:    That's not in the Bill of

    16       Particulars.

    17                  THE COURT:     Okay.

    18                  MR. KEHOE:    But it does goes to the theory

    19       that the government is advancing here as to what is

    20       legal or illegal.

    21                  THE COURT:     Okay.

    22                  MR. KEHOE:    Who is supposed to be the

    23       victim here, Judge, and what are these other statutes

    24       and other comments that they advance, how are they

    25       somehow part of this criminal theory, and do I take


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     1       them off the top of my head?      Are they inflated

     2       AWP's, which don't exist, and also they use the

     3       Florida statute.    And what we're looking to, Judge,

     4       is some indication or some additional clarity on some

     5       of these positions just to help us prepare and not

     6       be, you know, surprised at trial.       And I think that

     7       at a minimum, Rule 7 contemplates that.        I don't know

     8       if my colleague, Mr. Sisco, Dale Sisco, the good

     9       looking Sisco, who is on the phone, has anything

    10       further to add.    If I could just turn to him for a

    11       moment and ask him if he does.

    12                  MR. DALE SISCO:     No, thank you, Judge.     I

    13       think it's been well covered by Mr. Kehoe.

    14                  THE COURT:     Okay.   All right.    Very good.

    15                  MR. SUAREZ:    Your Honor, would the Court

    16       permit me to add a little bit on some of the

    17       questions that you asked Mr. Kehoe, particularly with

    18       the condition of the discovery that was provided?

    19                  THE COURT:     Yeah.   You can address that.

    20                  MR. SUAREZ:    Thank you, Your Honor.      It's

    21       Eddie Suarez.    I'm here on behalf of Mr. Palso.       Your

    22       Honor, I spent a significant amount on time to the

    23       discovery part I understand was there, and I think I

    24       can explain to the Court in a manner that'll make

    25       some sense.    So, for example, if you were going to


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     1       read the reports introduced, which what we generally

     2       refer to as 302's, there is a -- there's one hard

     3       drive.   There is largely a folder in which those

     4       reports of the interview are contained, and they are

     5       -- once you open that, what you will find is a series

     6       of folders that are divided by agency.        So for

     7       example, the reports that were generated by the FBI

     8       will be in one folder.     The reports that were

     9       generated by the FDA will be in one folder and so on.

    10       There's a series of folders divided by agencies, and

    11       when you open that folder, you get a plethora of

    12       individual files that would be the interview done

    13       with Mr. Percell and the interview done with Mr.

    14       Sisco and the interview done with these countless

    15       witnesses in the case.     There is no way if you

    16       wanted, for example, to read the reports of interview

    17       of Scott Roix, the head of HealthRight, who is a

    18       cooperating defendant -- you would not be able to go

    19       into these four hard drives and enter the name Roix

    20       and somehow be able to figure out where he is in this

    21       over one terabyte of materials.       There's no mechanism

    22       for doing that, and so you would have to open up

    23       every folder, then look at the list of the file names

    24       in the reports of interview, hope that the creator of

    25       that file include Mr. Roix's name in the file and


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     1       say, "Okay.    There's a report from Mr. Roix," open

     2       that and read it and likewise go through that

     3       process.   So I hope that helps a little bit for the

     4       Court to visualize how the discovery is organized.

     5       There is no master index, and by index, I don't mean

     6       the stuff you find in the back of a book.        As you

     7       know, computer programs go in, and they sort of

     8       search data, and they create a computer index, which

     9       then in a particular application can go find

    10       documents.    That doesn't exist in the way those have

    11       been turned over to the defendants.       They're all

    12       individual files, and then, you know, Mr. Foster had

    13       suggested many of these files have not been OCR'd.

    14       So they're not searchable.      Once you open a file, you

    15       can't even search within that file.       So I hope that

    16       helps the Court understand a little bit.

    17                    You also asked questions about specifically

    18       what relief we are requesting, and, Your Honor, in

    19       Exhibit A of our motion, we sort of gave you like a

    20       giant menu.    Our thought would be that after you

    21       heard the arguments, if some of our requests seem

    22       reasonable to the Court, then you could select from

    23       our giant menu those that you felt were appropriate.

    24                    THE COURT:    Okay.

    25                    MR. SUAREZ:   Thank you, Your Honor.


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     1                   THE COURT:    Thank you.    All right.

     2       Anybody else want to be heard at this time for the

     3       defendants?

     4                   ALL:   No, thank you, Your Honor.

     5                   THE COURT:    All right.    Mr. Harker, do you

     6       want to be heard?

     7                   MR. HARKER:   May it please the Court, I

     8       will respond to the Motion for a Bill of Particulars,

     9       and Mr. Roach will respond to the Motion to Strike

    10       Surplusage.    Your Honor, if I could have the overhead

    11       projector, please.

    12                   THE COURT:    You can have what?

    13                   MR. HARKER:     The overhead projector,

    14       please.

    15                   THE COURT:    I think it's on.

    16                   MS. OTTINGER:    It's not on?

    17                   THE COURT:    Does it not work?     I see it's

    18       is on.    Can the defendants -- each of you all see th

    19       this?

    20                   ALL:   Yes, Sir.

    21                   MR. ___:   Do you have a hard copy for us?

    22                   MR. HARKER:   Okay.   Now this a copy.     Now

    23       this is a (inaudible) document.       When we first

    24       addressed the issue of the organization of

    25       discovery...


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     1                  THE COURT:     Let me ask you.     Your

     2       contention is that the Bill of Particulars is not

     3       necessary based on your supplying all the discovery

     4       information that we're going to talk about right

     5       here?   This -- as a general rule, you're saying from

     6       when I let in your response is that, "We have

     7       answered every one of their questions       given the

     8       documents and the information we have provided in the

     9       terabyte of information"?

    10                  MR. HARKER:    Your Honor, the bona fide

    11       questions, that is correct, our interest in that.

    12                  THE COURT:     Okay.

    13                  MR. HARKER:    There are other questions that

    14       are answered in the discovery in a way that is easily

    15       searchable.    You can find that right in front of our

    16       papers.   I'm happy to discuss that right now.

    17                  THE COURT:     Uh-huh.

    18                  MR. HARKER:    So you have the ability that

    19       is not necessary.    It's not an appropriate use of

    20       ability just to try to extract the government's...

    21       And an important point that both Mr. Foster and Mr.

    22       Kehoe mentioned was the need to identify particular

    23       documents that the government is going to use.         The

    24       Court has already addressed this.       The government has

    25       agreed -- this is the Scheduling Order.        Beginning on


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     1       July 10th, 2009 the government will begin enrolling

     2       identification and production of (inaudible) trial,

     3       and the deadline for that production is February,

     4       more than two months before trial.       In other words,

     5       they will have every exhibit that we intend to

     6       provide and use in our case in chief at trial at

     7       least sixty plus days prior to trial and in some

     8       cases a hundred plus days in advance of trial, 180

     9       days in advance.    So if they're concerned about

    10       volume of evidence, which they shouldn't be for

    11       reasons I'll get into, the Court has already

    12       addressed that issue.

    13                  One of the things that counsel for the

    14       defense raised in their argument was the amount of

    15       money at issue in this vast array of unindicted

    16       co-conspirators, how can the defendants know who the

    17       other unindicted co-conspirators are.       They're

    18       worried they're going to be held accountable for the

    19       conduct of other co-conspirators, who they don't

    20       know.   Now, Mr. Roix, he's a co-conspirator.        They

    21       know his identity and the company HealthRight.         I

    22       point out in the indictment that $114, $113 million

    23       are directly attributable to the conduct of these

    24       defendants, not unindicted defendants.        That's $114

    25       million of approximately $174 million.        $174 million


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     1       is the allegation set forth in Paragraph 1, and the

     2       remaining $114 million is broken into three parts,

     3       about $78 million attributable to Synergy as set

     4       forth I believe in Paragraph 85 of the indictment.           I

     5       may be off by a paragraph on that.       Another $11

     6       million attributable to a sitting group of

     7       pharmacies, in other words, Synergy, in that same

     8       paragraph, and another approximately $25 million

     9       attributable to Alpha-Omega set forth in Paragraph 80

    10       of the indictment.     It's not these defendants that

    11       should be worried about other co-conspirators.         It's

    12       those other unindicted co-conspirators they should be

    13       worried about, Your Honor.      They have the 60 or 65 or

    14       whatever percentage that is of the conduct in the

    15       conspiracy that is charged in this indictment.         But

    16       they also know exactly how these numbers are

    17       tabulated because if you go into this folder right

    18       here, Reports-FBI, there's a sub-folder that says

    19       something to the effect of Reports of Forensic

    20       Accountants-FBI Forensic Accounting VM, and in there

    21       it's all the information.      It tells exactly how these

    22       numbers are calculated.     It's searchable.     Those are

    23       direct, printed pdf. files in there and in

    24       self-terms.    If you go to the highest level directory

    25       on this folder -- this is a printout, Your Honor,


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     1       I'll represent to the Court, of the government's

     2       version of this evidence, which is almost identical

     3       to the version they have.      For some reason, we had to

     4       break some of the audio recordings into a separate

     5       file to copy them, in fact, but this is almost

     6       identical to what they have.        For all material

     7       purposes, it is identical, and I'll represent that to

     8       the Court.

     9                    THE COURT:    So it is searchable?

    10                    MR. HARKER:   Yes.    Yes, Your Honor.

    11                    THE COURT:    They're saying it's not

    12       searchable.

    13                    MR. HARKER:   So, Your Honor, let...

    14                    THE COURT:    Am I misunderstanding?

    15                    MR. HARKER:   I think the misunderstanding

    16       arises from a couple different sources.        This is from

    17       the government's brief, and it's not in color here.

    18                    THE COURT:    Right.

    19                    MR. HARKER:   This is 1.4 terabytes of data,

    20       and that's a fair amount of date.        It's in the top

    21       here consists of 31 gigabytes of the main case file.

    22       This 31 gigabytes is more or less these six pages

    23       right here...

    24                    THE COURT:    Okay.

    25                    MR. HARKER:   ...in the response -- it's put


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     1       on this in response every single entity of the

     2       government's unit, who it pertains to, all

     3       pharmacies, Synergy, Bolos, Boyd, Synergy,

     4       HealthRight, Precision Pharmacy Management.        Those

     5       are all in that, page after page of well-organized

     6       discovery.    That's the 31 gigabytes.     That's the

     7       essential part of the case file.

     8                    Now, Your Honor, there's this large section

     9       over here, probably three-quarters, 75 percent

    10       approximately of the discovery, which consists of the

    11       HealthRight material.     In terms of bytes, the bulk of

    12       that are audio recordings and electronic

    13       prescriptions,    hundreds of thousands of these audio

    14       recordings.    The defendants claim that they can't

    15       search that material, and they wrote in their brief

    16       that the manner of explaining and searching that

    17       material is some indecipherable key known only to the

    18       government.    I'll represent to the Court that on a

    19       call with all the defense lawyers in December I

    20       explained the technique.      I'm going to do again right

    21       now.   This is Exhibit Number 1.      The defendants have

    22       a copy.    I printed this out this morning.      The

    23       defendants have an Excel chart of both pharmacies,

    24       Synergy and Alpha-Omega.      It's got tens of thousands

    25       of rows.    Let's say you wanted to find the audio


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     1       recordings for this patient picked at random.         I will

     2       say the patient's name.     It was transcribed.

     3       Everybody can see the patient's name.

     4                  THE COURT:     Okay.

     5                  MR. HARKER:    You could also pick the

     6       patients who are identified in Counts 2 through 32 of

     7       the indictment.    You pick that.     They know who they

     8       are, but if they want to know the -- if you need

     9       magic in the decipherable key, it's the patient's

    10       phone number right here.      You then go to the folder

    11       that has the audio recording.      This is the bulk of

    12       the evidence, hundreds and hundreds of gigabytes of

    13       audio recordings.    There they are.     They've got this

    14       indecipherable number, and I apologize.        I should

    15       have expanded the column here so you could see the

    16       full file on that.     If they go to "Search File" in

    17       the top right and you put that phone number of that

    18       patient right in there, and wallah!       That's the type

    19       thing that the government has to search these files.

    20       There is no special other computer system that we

    21       have.   All of the evidence, all of it that the

    22       government has obtained it has delivered to the

    23       defendants in either the same form that they got it

    24       or a much well or better organized one, all of it,

    25       except for one exception.      All the evidence that came


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     1       from Synergy, all of that is much less searchable by

     2       us, and that's about 25 percent of it.        Those are

     3       their emails, their pharmacy software.        There are

     4       response records.    Our ability to search those items

     5       is substantially less than their ability to do so.

     6       So, Your Honor, the discovery is extraordinarily well

     7       organized.    Any item or method that they watched

     8       they can find at an easily or more easily than the

     9       government can.    The idea that there are 86 million

    10       documents here is simply a farce.       That's not what

    11       we're talking about.     The documents are contained in

    12       this 31 gigabytes of files.      Everything else, the

    13       audio recordings except the defendant's, Synergy,

    14       files or HealthRight emails.      Those HealthRight

    15       emails are provided in Outlook psd. format, which is

    16       searchable.    You simply open it up using your

    17       technology vendor or your own Alpha machine, and you

    18       search the same way anybody would search Microsoft

    19       Outlook.    And that's what the government does.

    20       That's what they can do here.

    21                    Now let's go back if I could retroactively,

    22       Your Honor, and mark those Exhibits.       This could be

    23       Number 1, and then those three printouts of the

    24       screen shot, I'll just call that -- this will be

    25       Number 2.    I apologize for this, Your Honor.       I put


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     1       this together this morning.        This one will be Number

     2       3, and this one will be Number 4, and I'm missing an

     3       exhibit sticker for Number 1.        So I'll just write

     4       Number 1 here on the file, and the defendants all

     5       have copies of these.

     6                    THE COURT:    Okay.    All right.   Let it be

     7       -- do you want to admit those?

     8                    MR. HARKER:   Yes, Your Honor.

     9                    THE COURT:    All right.    Let that be

    10       admitted.

    11


    12                    (WHEREUPON, Exhibit No. 1, Excel Record and

    13       Key, Evidence Folder Contents, IS FILED.)

    14


    15                    (WHEREUPON, Exhibit No. 2, Three printouts

    16       of screen shots, phone numbers, IS FILED.)

    17


    18                    (WHEREUPON, Exhibit No. 3, Subpoena,

    19       Synergy Recordings, batch 8, IS FILED.)

    20


    21                    (WHEREUPON, Exhibit No. 4, Synergy

    22       Recordings, Batch 8 (3166485998), IS FILED.)

    23


    24                    MR. HARKER:   Your Honor, during that phone

    25       call in December when I represented to the defendants


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     1       and I explained this process, I said, "If you don't

     2       understand this now, feel free to call me."        That was

     3       December.    I haven't received a phone call.

     4                    It seems to me that they're primarily

     5       concerned about two things - knowing what our trial

     6       exhibits are going to be and knowing who the

     7       co-conspirators are.      They know or will know what our

     8       trial exhibits are going to be.       They'll know what

     9       those are beginning in July and ending not later than

    10       approximately February 3rd according to the Court's

    11       Order.   The Court's Order, Your Honor, which the

    12       defense and the government negotiated, we negotiated

    13       those deadlines.    By implication then those deadlines

    14       were acceptable to them for the purposes of preparing

    15       for this trial.

    16                    Also they've asked to receive

    17       co-conspirator statements.      Again, the Order on this

    18       case provides Notice Required.      The government

    19       intends to introduce co-conspirator statements under

    20       FRE 801(b)(2)(E).    We have to send those seven days

    21       in advance of trial.      And that's it.

    22                    THE COURT:    What do you make of their

    23       argument?    It looks like every one of them -- every

    24       one of the lawyers claim that they just don't know

    25       who these co-conspirators are, and, you know, they


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     1       are completely in the dark regarding that.        What's

     2       your response to that specific problem they are

     3       saying?

     4                  MR. HARKER:    Your Honor, the indictment --

     5       as I said earlier, the indictment alleges that

     6       approximately $174 million was obtained and that

     7       these defendants specifically obtained -- actually

     8       obtained about whatever $114 million is divided by

     9       $174 million.

    10                  THE COURT:     Right.

    11                  MR. HARKER:    Maybe 60 or 65 percent.

    12                  THE COURT:     Right.

    13                  MR. HARKER:    Those other co-defendants,

    14       clearly the primary person is Scott Roix.

    15                  THE COURT:     Right.

    16                  MR. HARKER:    Now I'll represent to the

    17       Court that one of the things that the government

    18       intends to show is that mechanisms that were employed

    19       by one of these groups of defendants...

    20                  THE COURT:     Uh-huh.

    21                  MR. RIGHT:    Right.    In furtherance of the

    22       fraud, were then adopted by their co-conspirator,

    23       Scott Roix, and pushed out to the other co-defendant,

    24       not the unindicted co-conspirators.       They may also

    25       had been a part of it but these co-conspirators


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     1       here...

     2                    THE COURT:    Okay.

     3                    MR. HARKER:   ...in this courtroom.

     4                    THE COURT:    Okay.

     5                    MR. HARKER:   So the idea that -- it helps

     6       support -- I think it's fair -- I don't think they

     7       could use the term hub and spoke because in my

     8       experience, as a lawyer, sometimes that term is

     9       misunderstood and used by people to do different

    10       things.   But I think it's fair to say that this is a

    11       hub and spoke conspiracy.      Now Scott Roix and

    12       HealthRight were the hub.      They were the entity that

    13       the government alleged very clearly in the indictment

    14       obtained these prescriptions at the direction of

    15       various spokes.    These are the two primary spokes.

    16                    THE COURT:    Uh-huh.

    17                    MR. HARKER:    The other unindicted

    18       co-conspirators, they're spokes, not hundreds of

    19       them, and all the information that they need to know

    20       to identify these few people and few companies, they

    21       have that information.     Now this shouldn't hang up

    22       the Court.    If all the defendants were asking for was

    23       a list of the unindicted co-conspirators the

    24       government knows of today, we can provide that list.

    25       I'll provide it to them.      It's a couple lines long.


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     1                  THE COURT:     Uh-huh.

     2                  MR. HARKER:    But that's not list of --

     3       that Motion for a Bill of Particulars as one of the

     4       defense counsel argued today is, in effect, is having

     5       to get us to identify and to narrow our ability to

     6       prove all of the vast array of this conspiracy.         So,

     7       for example, they asked which of the employees did

     8       Larry Smith direct to engage in certain conduct.

     9       Well, I would represent they simply have to go to

    10       these folders here that say Reports, and there are a

    11       couple of hundred reports in aggregate across all

    12       these things.    Those reports are labeled FBI Report

    13       Interview Of such and such case, more or less.

    14       They're labeled more or less in a very usable format,

    15       but those interview reports are also largely

    16       searchable.    It is the case -- I forgot to answer

    17       Your Honor's earlier questions, "Is everything

    18       searchable?"    Not everything is searchable.      Some of

    19       the items in this document are paper records that

    20       were provided to the government and were scanned by

    21       us.

    22                  THE COURT:     Right.    That's not going to be

    23       searchable?

    24                  MR. HARKER:    That's not -- well, they can

    25       OCR it, but what we're talking about there are the


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     1       hundreds and hundreds of bank records.        I think that

     2       Your Honor can look at this chart, and you can

     3       clearly see that there's just a huge amount of

     4       financial records and claims data and so forth,

     5       banks, banks, banks, banks, banks.       The significance

     6       of that is it just shows the money, but I doubt very

     7       much at trial that these defendants as are alleged in

     8       the indictment are going to contest that they paid

     9       Scott Roix $31 million.     They're going to argue what

    10       it was for, but $31 million, that's a lot of money

    11       for records to substantiate the $31 million was

    12       transferred from various accounts in the possession

    13       and control of these defendants to account for

    14       possession and control of the co-defendant who has

    15       already pleaded guilty.     So for the purposes of

    16       talking about reports, if they want to know who

    17       important patients are, they're in here.        If they

    18       want to know who the important doctors are, they're

    19       in here.   They also mention that there's over 100

    20       doctors that are alleged to have been brought in as

    21       part of the scheme, and they have a list of those

    22       doctors.   It's two pages.     They've got that

    23       information.    They can look in the subpoena response

    24       from HealthRight where the government said -- they

    25       can see the subpoena.     "Give us a list of all the


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     1       doctors that you dealt with," and we provided it to

     2       the defendants.    That's searchable, too, by the way,

     3       Your Honor.    It's in an Excel form.     They have all

     4       this information.    A little bit of diligence would

     5       show them exactly where it is in each paragraph of

     6       the indictment that the government has supporting

     7       evidence in these folders.      On top of that, we

     8       offered to provide them assistance in searching for,

     9       for example, audio recordings or the prescription

    10       files if they can't do it.      We haven't received that

    11       phone call, and they can do it.

    12                  Now I'm not going to repeat anything that

    13       I've wrote in my brief.     Does the Court have any

    14       questions for me, Your Honor?

    15                  THE COURT:     No.   I think that's -- I

    16       appreciate your clarification of that.

    17                  MR. HARKER:    Thank you, Your Honor.

    18                  MR. KEHOE:    May I respond briefly, Judge?

    19                  THE COURT:     If you want to, you certainly

    20       can.

    21                  MR. KEHOE:    Certainly, there was no

    22       clarification regarding the roving allegations of the

    23       indictment, be it off an APR or any of those comments

    24       that I addressed in my opening.       If Mr. Harker's idea

    25       is that simply because, you know, $17 million was


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     1       defrauded out of this $114 that didn't involve the

     2       defendants, that means that we don't find out who the

     3       rest of these co-conspirators are, I suggest to Your

     4       Honor that he is going to present co-conspirator

     5       testimony involved in these other 17.       If you want

     6       the breakdown, Judge, the 114, the 78, and        the 25

     7       and there was this miscellaneous other group, which

     8       was unidentified people of 17.      Advancing the

     9       argument for some degree that because that number is

    10       small, the identification of the co-conspirators that

    11       he knows and that the grand jury knows is somehow not

    12       that important.    Well, before a jury of twelve, all

    13       the co-conspirators, all the people that are going to

    14       testify as Your Honor well knows are equally

    15       important.    It's not a gauge of the amount that's

    16       involved.    It's the person that's testifying in the

    17       box.   So this separating of the numbers calculation

    18       is a specious argument.     And, Your Honor, we can go

    19       back to the fundamental premise here of not being

    20       surprised at trial.     Why is the government so

    21       reluctant to provide notice now so that we can do our

    22       job and go through this file?      You heard what Mr.

    23       Harker said.    This stuff is not the OCR.      It's not

    24       searchable.    We cannot go in there and put Larry

    25       Smith in there and pull his name out of this array of


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     1       documents that he's talking about.       I assume the

     2       government has done that.      I assume that they have a

     3       search mechanism for that.      What is the big, heavy

     4       burden to them to simply give it to us?        That's what

     5       anybody would do in their own civil case.        This is

     6       not tough stuff.    This is not going into what their

     7       theory is.    This is just giving an idea of where

     8       things are, and the argument about HealthRight

     9       answered a subpoena as to what documents that they've

    10       dealt with, what doctors they've used during the

    11       course of that, is that somehow some tacit mission,

    12       that those are all the crooked doctors?        That's the

    13       first time I've heard that.

    14                    MR. HARKER:    Your Honor, the government

    15       hasn't alleged that any doctors are crooked.

    16                    MR. KEHOE:    Well, I didn't -- whoever they

    17       were.   The government has, in fact, alleged in their

    18       indictment that some doctors were complicit.         They

    19       did put that in their indictment.

    20                    Now there's doctor that were complicit.

    21       There are doctors who were apparently -- you know,

    22       according to the indictment that were duped.         This

    23       list that's in HealthRight, who are they?        Are they

    24       the duped ones, or are they the ones that were

    25       complicit?    Oh, we're supposed to just figure it out.


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     1       I guess that's what Mr. Harker wants to do, just

     2       figure it out.    There are the names.     You can go out

     3       and do what you want.     But it goes back to -- that's

     4       just one subset of this array of co-conspirators that

     5       are known to the grand jury and are known to the

     6       government.    The documents in -- a case like this

     7       with this kind of complexity over this kind of

     8       geographical area, over this kind of time, it is

     9       simply consistent with Rule 7 in the case law to a

    10       minimum provide us the names of who those people are

    11       so we know when we're going through this, who they

    12       are in the scheme of things.      We're not asking them

    13       for their theories.     We're not asking them for a

    14       heavy lift.    We're simply asking them for that which

    15       they've done already so when we go to trial, we know

    16       what's going on.     And for why -- you know, so some

    17       form will be in the co-conspirator statements seven

    18       days before is really -- depending on how many

    19       witnesses that they intend to present and based on

    20       some of the estimates that were advanced by Mr.

    21       Harker early on, this case is going to be quite

    22       significant.    Getting co-conspirator statements seven

    23       days before a complex case that is scheduled to go on

    24       months will be in my humble opinion, using a legal

    25       term, a completely spiritual experience of little or


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     1       no consequence.    So allowing us at this point to put

     2       our arms around this raging, roving indictment that

     3       the government has, with all due respect, Judge, it's

     4       consistent with Rule 7, and we're just asking for

     5       some minimal materials to advance that using Your

     6       Honor's discretion as to what Your Honor believes is

     7       fair under the circumstances given this array of

     8       information that has been presented to us.         Thank

     9       you.

    10                   MR. FOSTER:   Judge, may I have a couple

    11       minutes?

    12                   THE COURT:    Yes, you can if you choose to

    13       respond.

    14                   MR. FOSTER:   Thank you.    Judge, I

    15       understood the government to say that $114 million of

    16       the total $174 million is attributed to these

    17       defendants.    So to me, that means that there's $60

    18       million that's attributed to other co-conspirators,

    19       and I think we're entitled to know the details of

    20       that and not just be directed to reports or to

    21       folders and say "Find it yourself."       But we are

    22       entitled to know who that they think, who it's their

    23       position were co-conspirators.

    24                   Now dovetailing to that, Paragraph K of the

    25       Pretrial Order talks about Brady disclosures.         Within


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     1       14 days of arraignment - that's gone.       That's behind

     2       us - a separate Brady is covered by Janx (sp).         They

     3       are required to give us Brady disclosure.        So does

     4       this mean to say of the $60 million in claims that

     5       people were indicted, was there anyone who said,

     6       "Well, you know, Roix told me this, this and this,

     7       and I believe him."     So they chose not to indict

     8       certain people.    This Brady time has passed.       So if

     9       there are any statements by anybody who's been

    10       interviewed by the government except as covered by

    11       Janx -- we know how narrow Janx is because it has to

    12       be authored or this way the government doesn't turn

    13       over 302.    So if there was nobody who was interviewed

    14       or nobody who the government is aware of that says,

    15       "We all thought we were doing the right thing," among

    16       these folks who were responsible for this $174

    17       million in claims, is there not a single person who's

    18       going to say that?     Because the government, Mr.

    19       Harker said, "Well, you know, we don't think they're

    20       going to argue that this is kind of funny," that's in

    21       the bank records.    He said, "We think they're going

    22       to argue, 'What were we told as good faith?'"         Right.

    23       Good faith.    Good faith -- five seconds, Your Honor.

    24       So do they not have within any of the people

    25       associated with that $174 million, anybody who said


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     1       that they were lied to, they were deceived, that they

     2       were operating in good faith as to their dealings

     3       with Mr. Roix?    I suspect -- I would think logically

     4       they do.   So I'd like to point that out.

     5                    The last thing, Mr. Harker said or

     6       volunteered to offer the list of the co-conspirators,

     7       alleged co-conspirators, which, again, I would ask

     8       the Court to accept that offer of Mr. Harker and also

     9       the entities, because, again, in the indictment --

    10       the indictment says entities and individuals,

    11       unindicted entities and individuals who were

    12       (inaudible) and in the conspiracy.       So that's a

    13       simple fix for him, and that would be helpful to us,

    14       and I would request that that be provided.         Okay.

    15       Thank you.

    16                    MR. HARKER:    All right.   Your Honor, may I

    17       just respond in twenty seconds?

    18                    THE COURT:    Do you want to respond for the

    19       individuals?    Is that something you're going to do,

    20       or I'm not -- I'm just inquiring.

    21                    MR. HARKER:    Yes, Your Honor.     We can

    22       provide a list of the actual individuals who are

    23       responsible for the balance of the $174 million.

    24                    THE COURT:     Okay.   All right.    In addition

    25       to that?


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     1                    MR. HARKER:    Yes.    In addition, Your Honor,

     2       the government is aware of it's Brady obligation.

     3       We take that responsibility extremely seriously.         We

     4       are not aware of any Brady material in this case.

     5                    THE COURT:     Okay.   All right.

     6                    MR. HARKER:    If we become aware of Brady

     7       material, we will promptly turn it over.

     8                    THE COURT:     All right.   Yes, Sir.

     9                    MR. SUAREZ:    May I respond to Mr. Harker's

    10       comments?

    11                    THE COURT:     All right.

    12                    MR. SUAREZ:    Thank you, Your Honor.

    13                    THE COURT:     And then we'll take a break

    14       and then we'll get back...

    15                    MR. SUAREZ:    I'll be very brief, Your

    16       Honor.   For the record, Eddie Suarez on behalf of Mr.

    17       Palso.   Your Honor, I want to address the issue of

    18       the patients.    I would point out that that was the

    19       first item that was suggested in Exhibit A to our

    20       motion was the identity of the patients who were

    21       allegedly deceived.       As has been pointed out in the

    22       indictment on Page 2, the government or the grand

    23       jury alleged that the conspiracy deceived tens of

    24       thousands of patients.       So to identify who these

    25       deceived patients are is very important in order to


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     1       defend this case.    If we look at the indictment, a

     2       number of individual patients are identified in

     3       individual counts.     Just using rough numbers, Your

     4       Honor, it looks somewhere approximately -- there are

     5       29 counts of individual patients.       Those patients are

     6       identified in the indictment by initials.        So if I

     7       understand the government's position correctly, and

     8       perhaps I don't, but if I understand it correctly, in

     9       order for me to review the recordings of those

    10       patients, I would have to go to this master list.

    11       Let's just take the first four in the indictment at

    12       Page 37 or the first five, who are identified with

    13       the initials J. L.     So we'd have to look at this

    14       master list that presumably has tens of thousands of

    15       phone calls.    I'd look for those that match the

    16       initials J. L. and identify the phone number for them

    17       and then be able to go through the recordings just to

    18       see if I've got the right J. L.       So I point that out

    19       to illustrate just how difficult, if not impossible,

    20       it would be to defend against the allegations of

    21       patients who were deceived if we don't know who those

    22       patients are.

    23                  Your Honor, Ms. Zysk has a couple of points

    24       she wanted to make to the Court in response to Mr.

    25       Harker.   If she could do so on behalf of Mr. Palso,


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     1       we'd appreciate that.

     2                  THE COURT:     Do you want to talk, too?

     3                  MS. ZYSK:    Yes, Your Honor.

     4                  THE COURT:     Come and join the party.

     5                  MR. SUAREZ:    Thank you, Your Honor.

     6                  MS. ZYSK:    Thank you, Your Honor.     Rachel

     7       Zysk for Mr. Palso.     The one thing I wanted to make

     8       clear is this is not a discovery motion.        This is

     9       like charge conduct.     So while the government's offer

    10       of providing us with a two-line list of who they

    11       alleged to be 45 percent of this conspiracy doesn't

    12       really get to the heart of the issue, and that is

    13       what has the government charged?       What do we have to

    14       provide at trial?    The discovery only matters for

    15       purposes of us understanding what the charges are to

    16       choose limited discovery in federal criminal cases.

    17       It's not about the discovery itself, and the

    18       searchability and the ability to review the discovery

    19       really goes to what is the government alleging

    20       occurred and because of -- is the Bill of Particulars

    21       limited to the government's proof?       Because that's

    22       much more important than a two-line list, "Here are a

    23       couple of our co-conspirators."       We need to know

    24       exactly what we (inaudible) at trial.       We need to

    25       know what, once we are able to search the discovery,


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     1       what we search for, what these co-conspirators are

     2       alleged to have done, what we are alleged to have

     3       done, what the government alleges is illegal?         If

     4       Scott Roix is the hub of this conspiracy and some

     5       person off in Texas that we've never met is another

     6       hub, how are we supposed to search discovery for his

     7       name?   So a written Bill of Particulars limits the

     8       government's allegations to what has occurred, and

     9       that's what we really need to prepare for trial.

    10                  THE COURT:     Okay.

    11                  MS. ZYSK:    Thank you.

    12                  THE COURT:     Okay.    Well, let's take a --

    13       do you want to say something?

    14                  MR. FOSTER:    I just want to ask one point

    15       of clarification that's been our concern.        I

    16       understood that Mr. Harker volunteered to provide a

    17       list of the individuals and the entities that

    18       comprise that remaining dollar amount of the claims,

    19       but we had asked for -- and I thought that initially

    20       he had volunteered to give the names of the

    21       unindicted co-conspirators.       So the entities that are

    22       responsible for that other $40 million and those

    23       people who are responsible for that additional money

    24       is not the whole set of unindicted co-conspirators.

    25                  THE COURT:     Okay.    That's fine, and I'm


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     1       just going to rule and let you know the argument --

     2       I'm not going to tell him (inaudible) voluntarily,

     3       just get something to moot the issue, but if it's not

     4       enough, then I'm just going to address the motion

     5       that you all have asked in the Order.

     6                   MR. FOSTER:   I didn't mean to be...

     7                   THE COURT:    Well, he's not -- what he's

     8       giving you is not going to the issue because there's

     9       more you wanted to be turned over.       Right?

    10                   MR. FOSTER:   I thought there were two

    11       offers.    I thought at the beginning he said that he

    12       could provide us a list - it would be a short list -

    13       of the unindicted co-conspirator.

    14                   THE COURT:    Okay.   I tell you what.     Why

    15       don't you all talk about this?      Why don't you all see

    16       if you can -- why don't you talk about whether or not

    17       you can do the -- if you can't, that's fine, but I

    18       don't want to get into the, "He's not giving me

    19       enough, or he's not given me, you know, what I asked

    20       him for.    We asked for this."    Because it makes more

    21       since to do what you're -- you're willing to give him

    22       some of this.    Talk about what you're willing to give

    23       him.   If you can't agree to it, that's fine.        That's

    24       what I'm here for.     And then we'll be back here in

    25       about ten minutes.


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     1                  MS. OTTINGER:    All rise.    Court's in

     2       recess.

     3                  (OFF THE RECORD.)

     4


     5                  MS. OTTINGER:    Come to order and be seated.

     6       Court is now in session.

     7                  THE COURT:     Sorry for the delay there.      I

     8       had one or two other matters.      All right then.     Let's

     9       hear -- the next motion is the Motion to Strike

    10       Surplusage in the indictment.      And let me make an

    11       observation first before we spend a lot of time

    12       arguing because it might, it might affect your all's

    13       position on this.

    14                  It's my understanding in dealing with Judge

    15       Greer and when I was a practicing lawyer and as a

    16       magistrate judge now, on a case of this nature where

    17       the indictment is as long as it is, I don't believe

    18       he's going to read the indictment or give it to the

    19       jury.   Let me ask Mr. Harker.     Is that your

    20       understanding, too?

    21                  MR. HARKER:    Your Honor, I don't know the

    22       answer to that question.

    23                  THE COURT:     I think he summarizes the

    24       allegations and the counts.      He goes through and does

    25       that for them and then has a special verdict form


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     1       before him, and I don't think he'll be presenting the

     2       indictment to the grand jury at all.

     3                  MR. BOSCH:    Your Honor, Don Bosch for what

     4       limited enlightenment I can provide.       I think you're

     5       correct about what Judge Greer does even on medium

     6       sized indictments.     This is a large one.     He'll

     7       summarize it and then give the appropriate

     8       instruction in verdict form to the jury.

     9                  THE COURT:     Yeah.   That's what I -- that's

    10       my understanding, too.     So that might help you a

    11       little bit because I think that may be a moot issue

    12       in some of these ideas of striking surplusage in the

    13       indictment, but go ahead.

    14                  MR. KEHOE:    Yes, Judge.    It may with some

    15       of the ancillary matters that go towards the end of

    16       the brief, but to the extent that, for instance, we

    17       have money laundering items set forth in the

    18       indictment and...

    19                  THE COURT:     Why don't you go ahead and

    20       argue that?

    21                  MR. KEHOE:    Okay.    Obviously, we're arguing

    22       this under 7B, Judge, and throughout the indictment

    23       there are comments about the movement of money that

    24       is described as money laundering, the traditional

    25       money laundering.    I know money laundering is a very


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     1       loaded term and goes directly to Section 1956 and

     2       1957.

     3                    THE COURT:    But if it's part of the

     4       conspiracy is what they're saying. is that not

     5       relevant?

     6                    MR. KEHOE:   No.   If -- what he's saying is

     7       that they are moving money to somehow conceal it.

     8                    THE COURT:    Right.

     9                    MR. KEHOE:   Okay.    That -- can they argue

    10       that they're moving money to conceal, where that

    11       money came from, etcetera?        They can argue that, but

    12       to call it something that is a separate crime, i.e.,

    13       money laundering without going through what money

    14       laundering is because this under 1956 or 1957 is

    15       neither a financial transaction or a monetary

    16       transaction, and I am sure that the initial elements

    17       of 1956(a)(1) are not set forth in this indictment

    18       and certainly nothing in 1956(a)(1) nor, of course,

    19       (a)(2), nor is it in 1957.        So what we're doing here

    20       is without going through this definable term, money

    21       laundering, which is under 1956 and 1957 well laid

    22       out and case law is replete on it, the government

    23       just throws it in there like a little hand grenade

    24       throughout it all to say, "Look," because they know

    25       full well -- they know full well that a jury is going


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     1       to react to money laundering, although there is no

     2       crime set forth in this indictment on money

     3       laundering.    Now there is no charge.     I suspect that

     4       counsel decided not to bring a money laundering

     5       charge or the money laundering section of the

     6       Department of Justice declined to allow the U. S.

     7       Attorney's office to bring a 56 or 57 charge.         Be

     8       that as it may, it's not there, but it's still in

     9       there as these little mine fields without anything

    10       else other than this description that is intended to

    11       prejudice the jury and doesn't advance any knowledge

    12       for the jury because money laundering, qual

    13       (phonetically) money laundering under 1956 and 1957

    14       is simply not listed as one of the charges.        I mean

    15       we know why the government's put that in there,

    16       Judge.   We know full well that it is there to alarm

    17       the jury that this is somehow a money laundering

    18       issue when it's not.     If they want to argue during

    19       the course of the evidence and argue from the

    20       evidence that somehow the defendants concealed money

    21       or moved money, well, that's the evidence that comes

    22       in.   But to describe it as money laundering is

    23       improper.    It would be the function -- why not just

    24       put embezzlement through all this even though you

    25       don't have an embezzlement charge or some other, you


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     1       know, volatile description.      That's what's going on

     2       here.   That's why they're doing this, and that's why

     3       the courts take those terms and they strike them

     4       because of those particular reasons.       There's no

     5       charge of 56 or 57 charge.      There's no laying out of

     6       the elements of 56 and 57, 56 under (a)(1) or (a)(2),

     7       certainly not (a)(2) because it's international, but

     8       under (a)(1) and certainly nothing under a 1957

     9       charge to allow any jury to come to a conclusion

    10       about money laundering, which, of course, is

    11       indicative of the fact as to -- or why, I should say,

    12       the government didn't bring a 56 or a 57 count.          And

    13       that's the reason it's there.

    14                  THE COURT:     So when Judge Greer summarizes

    15       it, it may be -- it is your position that he should

    16       summarize it and say that they were money laundering?

    17                  MR. KEHOE:    What I'd say to the judge is

    18       that what is to preclude Mr. Harker from standing in

    19       front of the jury and say, "Well, on Paragraph such

    20       and such of the indictment it describes money

    21       laundering when the defendants at X, Y and Z, and

    22       it's right here in the indictment, right here hands

    23       down by the grand jury."

    24                  THE COURT:     They won't have it.     They

    25       won't have the indictment.


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     1                    MR. KEHOE:   Yeah.    But he can still read

     2       it.    He can still refer to something that is in the

     3       indictment.    Whether or not they have it, I mean both

     4       sides will refer to the charging document during the

     5       course of both opening statement and closing.         So...

     6                    THE COURT:    Okay.    All right.   So you want

     7       money laundering struck out?

     8                    MR. KEHOE:   Yes.

     9                    THE COURT:    All right.

    10                    MR. KEHOE:   Money laundering is stricken

    11       out.    I mean the other issue that is perplexing, of

    12       course, is something I alluded to during the argument

    13       on the Bill of Particulars, and that has to with the

    14       inflated AWP's.    These defendants, regardless of the

    15       allegations, have nothing to do with setting the

    16       average wholesale price.      That is set by third

    17       parties, and when a particular item comes into a PBM,

    18       it auto-populates that with what the AWP is.

    19                    THE COURT:    So what do you want me to do

    20       with that?

    21                    MR. KEHOE:   Strike that because it's...

    22                    THE COURT:    Strike it anywhere it says

    23       AWP?

    24                    MR. KEHOE:   Of course.

    25                    THE COURT:    And what goes in its place?


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     1                  MR. KEHOE:    That's something that the

     2       government asked because what they have done is they

     3       have decided to, mistakenly or whatever, they have

     4       decided to incorporate a definition in here, AWP,

     5       which doesn't exist, and lay it at the feet of these

     6       defendants when they have nothing to do with the AWP.

     7                  THE COURT:     I think your argument is that

     8       AWP is inflated and AWP is a misnomer because they

     9       actually bought it at a discount from the AWP and

    10       they got reimbursed in the AWP records.        Is that

    11       right?

    12                  MR. KEHOE:    No, Judge.    What I'm saying to

    13       you is that the term "inflated AWP" is just wrong.

    14                  THE COURT:     Well, what is -- well, I mean

    15       if you agree, agree -- my understanding is your

    16       argument we have agreed was that the reason it was

    17       wrong is because in actuality we got a discounted AWP

    18       rate and then got reimbursed at an AWP rate.         Is that

    19       right or wrong?

    20                  MR. KEHOE:    No, not necessarily, no.

    21                  THE COURT:     Well, correct me on that.

    22       What's your position?

    23                  MR. KEHOE:    The wholesaler buys a product,

    24       whatever the product happens to be, and they sell it.

    25       There's an AWP for this product.       The PBM's don't pay


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     1       the AWP.   Why?   They pay something less because

     2       they're making a profit.      So they're not going to pay

     3       out at the AWP.    But what that AWP is set at is set

     4       by a third party.    It's the functional equivalent of,

     5       you know, changing the interest rate for the Fed.         I

     6       mean you just can't...

     7                    THE COURT:    Will you argue that to the

     8       jury then?    Can you just say, "Well, this is what

     9       their whole theory of the case is.       It's a shame

    10       because they've got their whole charge going on, and

    11       here, this is how in actuality the AWP works"?         Why

    12       isn't that a factual issue that...

    13                    MR. KEHOE:   Well, the reason is, Judge, it

    14       is not only relevant, but it is prejudicial.         If...

    15                    THE COURT:    Well now, what do you mean?

    16       How is that, you arguing that the way the government

    17       has -- how is that prejudicial?       I'm not...

    18                    MR. KEHOE:   Because the government is

    19       advancing a term which categorically is incorrect.

    20                    THE COURT:    Okay.

    21                    MR. KEHOE:   The government is advancing

    22       something in there that we have to talk to you about

    23       here, Judge, that is just wrong - with some argument

    24       that these defendants had something to do with

    25       setting the AWP, and they do not.       They have nothing


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     1       to do with it.    And you add onto that that they made

     2       money by inflating the AWP is clearly more

     3       prejudicial.    So you take something about which they

     4       have no control, and then you add the adjective

     5       "inflated" to it - again, something like money

     6       laundering - to inflame the jury.       Not only are you

     7       laundering money, you're inflating the AWP.        I mean I

     8       think it's incumbent upon...

     9                    THE COURT:    But the defense to it is we

    10       had nothing to do with that.

    11                    MR. KEHOE:   Well, certainly, Judge --

    12       certainly, Judge, there is an argument similar to the

    13       argument that I'm making to you, but I do think that

    14       moving ahead with the charged indictment, for the

    15       Court to consider something that's in this charged

    16       indictment that is incompletely wrong is just

    17       incorrect.

    18                    THE COURT:    Okay.

    19                    MR. KEHOE:   That's causing something that

    20       -- an inflated AWP and putting it at the feet of

    21       these defendants is just completely wrong, and

    22       allowing that to move forward, as we move forward in

    23       this -- so we have to address it in front of the

    24       jury.   First of all, Your Honor, it's unnecessary.

    25       Secondly, it's an irrelevant allegation given the


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     1       fact that they had nothing to do with it.        Thirdly,

     2       similar to having the government argue money

     3       laundering is prejudicial...

     4                  THE COURT:     Okay.

     5                  MR. KEHOE:    ...to have it ringing around

     6       with the jury that this inflated AWP is in the

     7       indictment.

     8                  THE COURT:     Okay.   All right.    So knock

     9       out the inflated AWP, the money laundering.

    10                  MR. KEHOE:    And there is the last issue,

    11       Judge.   There's any number of comments that are set

    12       forth, you know, in the indictment that make this

    13       indictment appear, you know, like it's global.         You

    14       know, there are no holds barred here.       You know,

    15       protect your little ones because here comes this

    16       conspiracy, that it's known an unknown, and it's

    17       people, other people involved, other pharmacies, and

    18       it's happening elsewhere, and they're involved in a

    19       variety of schemes.     There are a number of items that

    20       we listed in our motion that clearly are put in the

    21       grand jury simply to expand this out well beyond what

    22       this case actually is, which is interesting because

    23       even while they're putting these expanded things out

    24       like there's a variety of schemes in '76, and this

    25       happens, it's happening elsewhere.       You know, in


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     1       Paragraph 1, 32, 94, 96, 98, 100, all those issues

     2       which, you know, are in the indictment that we're

     3       trying to get some Bill of Particulars on, but

     4       nevertheless, it's still in the indictment.        So there

     5       has to be some consideration, Judge, of striking

     6       those items about which it gives a misperception of

     7       the range and scope of this conspiracy.

     8                    THE COURT:    And just so that I understand

     9       what you're saying, you're referring to the

    10       specifics, the specific items that you're asking me

    11       to strike?

    12                    MR. KEHOE:   Right.

    13                    THE COURT:    I believe is the...

    14                    MR. KEHOE:   We have them listed in there,

    15       Judge.

    16                    THE COURT:    Yeah.   Among other things...

    17                    MR. KEHOE:   Right.

    18                    THE COURT:   ...and you have them listed on

    19       Page 9 of Document 104 as to exactly what you want...

    20                    MR. KEHOE:   Correct, Judge.

    21                    THE COURT:    ...struck as far as other

    22       persons and entities known and those kind of things?

    23                    MR. KEHOE:   Yes, Your Honor.

    24                    THE COURT:    Okay.   I see what you're

    25       saying.


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     1                    MR. KEHOE:    Okay.   That's -- without

     2       belaboring the point, Judge, that's the argument.

     3                    THE COURT:     Perfect.

     4                    MR. KEHOE:    I'll turn it over to my

     5       colleagues unless anybody else has anything.

     6                    THE COURT:     If anybody else would like to

     7       argue, you certainly can.       I'm not going to...

     8                    MR. SUAREZ:    Judge, I'm still blown away by

     9       his argument.    Thank you.

    10                    MR. ___:    Nothing here, Sir.

    11                    MR. ___:    Nothing, Your Honor.    Thank you.

    12                    MR. ___:    No, thank you.

    13                    THE COURT:     All right.    Mr. Harker -- I

    14       mean Mr. Roach.    Were you equally blown away by the

    15       argument?

    16                    MR. ROACH:    Yes, Your Honor.    I'm blown

    17       away.   Good morning, Your Honor.        Bill Roach from the

    18       Knoxville office.       I'll go straight to the money

    19       laundering allegations in the indictment.        Your

    20       Honor, as I pointed out in our response to the

    21       motion, that allegation to money laundering is

    22       relevant to the conspiracy.        It shows that the

    23       defendants were attempting to conceal their purchases

    24       of the medications and the reimbursements.        They were

    25       trying to conceal that from the pharmacy.        To do


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     1       that, they had to implement and devise a money

     2       laundering scheme so that the PBM's did not discover

     3       that the patients were not paying the co-pays.         Okay?

     4                   THE COURT:   Well, did the PBM's audit them?

     5       What was the real point behind them needing to

     6       conceal?

     7                   MR. ROACH:   That's exactly right, Your

     8       Honor.   The PBM's could audit them.      The PBM's did

     9       audit them, and the PBM's did eventually terminate

    10       some of the pharmacies for that specific issue, and

    11       that's what we intend to prove at trial.

    12                   THE COURT:    Okay.

    13                   MR. ROACH:   So that we're going to show

    14       that this money laundering scheme that the defendants

    15       developed, that the intent of that scheme was to

    16       deceive the PBM's, Your Honor.

    17                   THE COURT:    They make a point that, "Well,

    18       does it -- you did indict him for money laundering,

    19       and, therefore, you shouldn't be able to say that

    20       that money was laundry money."      That looks like the

    21       essence of one of their arguments.

    22                   THE COURT:    That is, Your Honor, but with

    23       all due respect, that misapprehends the legal

    24       standard here.    The Sixth Circuit has set down the

    25       legal standard where if we have an allegation in the


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     1       indictment, if that allegation is relevant and we

     2       intend to prove it, then it cannot be stricken under

     3       the Sixth Circuit deprescuit (phonetically).          It has

     4       to be both irrelevant, and it has to be prejudicial.

     5       Now we don't even get to the prejudice inquiry here,

     6       and that's what the Sixth Circuit has held in the

     7       cases that I cited in my response because the

     8       allegation of money laundering is relevant, Your

     9       Honor.   And that argument, moving into the second

    10       point, only inflated AWP medications.       That applies

    11       equally to the inflated AWP, to that allegation.          We

    12       included that in the indictment because that's

    13       exactly what we intend to prove at trial.        We intend

    14       to prove that the conspiracy set out to -- or part of

    15       the conspiracy was to set out to isolate these

    16       medications where the AWP price was spread between

    17       the AWP and the usual and customary price at which

    18       the pharmacies paid for the medications.        The

    19       defendants isolated the medications that had the

    20       highest spread.    That's what we're going to show at

    21       trial.   That's what we allege in the indictment, and

    22       because that allegation is relevant, because it shows

    23       that the purpose of the conspiracy was financial

    24       gain, that's the relevance of the inflated AWP

    25       medication, the allegation in the indictment, Your


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     1       Honor.

     2                    THE COURT:    Okay.   So you've heard the

     3       defendants say that this inflated AWP, there was no

     4       such thing.    It's a wrong term.     What's your response

     5       to that?

     6                    MR. ROACH:   Your Honor, I would say two

     7       things.    I would say, Number 1, it's not a wrong

     8       term.    It's exactly what happened here.      The word

     9       "inflated" is just our description       of the difference

    10       between the AWP price, which is an industry-reported

    11       price, and the usual and customary price.        Now we're

    12       going to show that the medications that they selected

    13       that they isolated, that they test built for, that

    14       they fished for -- we're going to show that the

    15       spreads on those medications were some of the highest

    16       spreads that you could find in the pharmaceutical

    17       industry.    Okay?   That's why those -- that's why we

    18       say that it's an inflated AWP, because the AWP price

    19       is inflated over the usual and customary price, Your

    20       Honor.    That's why it's relevant, because it shows

    21       that the intent of the conspiracy was financial gain.

    22                    Now to the second point...

    23                    THE COURT:    Is that, is that illegal?      I

    24       mean is that -- what I'm trying to figure out is if

    25       you have -- they don't set the AWP price?


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     1                   MR. ROACH:   That's correct.

     2                   THE COURT:    Okay.    So we've got that set

     3       out there by a third party, and then they -- it looks

     4       like your allegation so I'm understanding...

     5                   MR. ROACH:   Right.

     6                   THE COURT:    You've got the -- what your

     7       allegation is the defendants go and find those

     8       particular medications that have these third party

     9       established AWP's and then compare them to the

    10       normal, customary reimbursements?

    11                   MR. ROACH:   Right.

    12                   THE COURT:    Is that right?    And then if

    13       they're large enough, they'll encourage the doctors

    14       or however that scheme would be...

    15                   MR. ROACH:   That's correct.

    16                   THE COURT:    ...we will get them to

    17       prescribe these medicines...

    18                   MR. ROACH:   Right.

    19                   THE COURT:    ...because we're going to make

    20       a big...

    21                   MR. ROACH:   Well, Your Honor, there's

    22       nothing inherently illegal about trying to make a

    23       profit.

    24                   THE COURT:    Right.

    25                   MR. ROACH:   But if you deceive doctors, if


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     1       you deceive patients, if you deceive the PBM's into

     2       reimbursing for medications that were not necessary,

     3       that the patients didn't want, that the doctors

     4       didn't know that the patients were requesting certain

     5       medications, that's where it turns into what we

     6       allege in the indictment, Your Honor.       And so that's

     7       -- and that's exactly why the allegation of an

     8       inflated AWP medication is relevant, Your Honor.

     9                  THE COURT:     Okay.

    10                  MR. ROACH:    Unless Your Honor has any

    11       further questions about the third category, I would

    12       just say that none of those allegations, Your Honor,

    13       in the indictment are prejudicial.       The conspiracy --

    14       we do mention others unnamed by the grand jury.         I

    15       think that's customary practice, for the grand jury

    16       not to name unindicted co-conspirators in the

    17       indictment.    And there was some argument about that

    18       during the Bill of Particulars when Your Honor was

    19       asking questions about the Bill of Particulars

    20       motion, Your Honor, but I think the underlying point

    21       for our case in the Motion to Strike is that none of

    22       those, none of those allegations, none of the

    23       inclusion about language the indictment is

    24       prejudicial, Your Honor, and for that reason, the

    25       motion in its entirety should be denied.


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     1                   THE COURT:     Okay.

     2                   MR. ROACH:    Thank you.

     3                   THE COURT:     All right.    Thank you, Mr.

     4       Roach.

     5                   MR. KEHOE:    May I respond briefly, Judge?

     6                   THE COURT:     Absolutely.

     7                   MR. KEHOE:    We go back to the money

     8       laundering aspect first, Judge.        I mean, yes, the

     9       Sixth Circuit case said, you know, if it's

    10       prejudicial, it shouldn't be stricken.        Most

    11       indictments are prejudicial, Judge.        I mean let's be

    12       frank.    I mean people aren't there for, you know,

    13       going to the spa.    You know, they've been indicted

    14       for something.    So it's per se prejudicial, but it's

    15       got to be relevant.      And what they're arguing is that

    16       they are saying that this money was concealed and

    17       concealed from the PBM's, and they're calling it

    18       themselves money laundering, and it's not money

    19       laundering.    If you look at 1956 and 1957 as Congress

    20       has defined it, it is not money laundering.          And what

    21       they're trying to do is put a round peg in a square

    22       hole.    We're not before Your Honor advancing the

    23       theory that we want to put a fence around the

    24       government's evidence on concealment; that they were

    25       concealing where money was going for whatever reasons


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     1       the government is advancing.

     2                  THE COURT:     Well, let me ask you.      What is

     3       money laundering?

     4                  MR. KEHOE:    Well, it's a variety of

     5       different things.    1956 is the taking of specified

     6       unlawful proceeds and using it to advance that

     7       specified unlawful activity, to evade taxes or to

     8       otherwise promote the activity.

     9                  THE COURT:     So if you had specified

    10       unlawful activity for fraud...

    11                  MR. KEHOE:    No.   It's got to be -- yeah.

    12                  THE COURT:     ...I mean would that be --

    13       would that -- it looks like to me that's what this

    14       conspiracy is about is fraud; that they're saying

    15       that, hey, they got this money from a specified,

    16       unlawful activity is what Mr. Roach has described,

    17       and then try to secrete the money from being, you

    18       know, being detected based on the audits that the

    19       PBM's were engaged in.

    20                  MR. KEHOE:    Well, let's stop at the first

    21       thing.   What the SUA is in those proceeds, you have

    22       to prove that the proceeds are, in fact, coming from

    23       a specified, unlawful activity.

    24                  THE COURT:     Okay.

    25                  MR. KEHOE:    You have to prove that.      That's


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     1       Step 1.   And then you have the promotion, tax and

     2       moving on the ongoing activity of the enterprise.           So

     3       I mean all of those issues -- just identifying that

     4       information is, is required.      You've got to say this

     5       is from SUA.    Why is that important?     Why is that

     6       important?    Because it ain't true, which is also

     7       money laundering.    I'm talking about 1956(a)92).       You

     8       don't have to have money from a specified, unlawful

     9       activity.    1956(a)(2) only requires that money be

    10       moved nationally or internationally across borders

    11       and that that money is used to promote.        So that's

    12       much different between (a)(1) and (a)(2).        So it's

    13       the defining and being able to prove not only the

    14       SUA, specified unlawful activity, pardon the acronym,

    15       the SUA, but that these are proceeds from the SUA

    16       before you take the additional steps.       It's crucial

    17       depending on whether or not it's an (a)(1) or (a)(2).

    18       They don't do that.     They just call it money

    19       laundering and say, "Hey, this is money laundering.

    20       Why?   Because you guys are taking money, and you're

    21       concealing it from the PBM's."      If I make money

    22       legitimately and I'm concealing it from the PBM, is

    23       that money laundering?     No.   Clearly, clearly on the

    24       worst case scenario because it's not an SUA.         It's

    25       not, you know, proceeds from a specified unlawful


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     1       activity.    You know, Judge, this isn't complicated

     2       stuff.   You know, I spent the good majority of three

     3       years dealing with just putting these statutes

     4       together and willy-nilly just talking about what

     5       something is, a SUA and the proceeds and promotion,

     6       etcetera under 56(a)(1) and 56(a)(2) is an

     7       evidentiary derivative product, and they don't have

     8       it.   What they want is some kind of sizzle factor.

     9       They want to cost this -- they want to call this

    10       money laundering without charging it and without

    11       going through all the elements, but they want to come

    12       in here and argue that somehow somebody concealed

    13       some money from them.     You know, I don't think at

    14       this point -- during this point -- we can argue that

    15       at trial, but at this point there's no, there's no

    16       basis upon which for us to curtail the concealment

    17       argument...

    18                    THE COURT:   Okay.

    19                    MR. KEHOE:   ...as evidence of a conspiracy.

    20       But calling it money laundering, qua money laundering

    21       on a 1956 or a 1957, for that matter, which, you

    22       know, we haven't really talked about that much.         It

    23       is a much more complex matter concerning the source

    24       of those proceeds and what those proceeds are

    25       designed to do as required by the statute, and they


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     1       haven't done it.    They just want to throw these

     2       little hand grenades in throughout the course of this

     3       indictment to prejudice defendants and have the

     4       jurors if they ever hear it, when they read this

     5       during opening and closing, "Oh, my heavens to Betsy,

     6       there is money laundering going on.       On top of

     7       everything else, they're money laundering."         That's

     8       the reason for it, Judge.      That's the reason for it.

     9       That's inflated, inflated AWP.      Counsel said inflate

    10       it over customer improper.      What does that mean?

    11       Inflate it over customer improper.       Customer

    12       improper?    We didn't even set the AWP.      These

    13       defendants have nothing to do with the AWP.         Your

    14       Honor hit the nail on the head.       AWP and the PBM's

    15       are auto-populating the purchase based on that AWP,

    16       and they're buying money -- buying the product and

    17       making a profit based on that.      That's America.

    18       That's not a crime.     They don't set the AWP.       If

    19       they're not setting the AWP, how can they inflate it?

    20       And that's what they're charging in the indictment.

    21       If they want to come up with some other scheme that

    22       they did something wrong with that, that's fine, but

    23       it's got nothing to do with the definable term of

    24       AWP.   If they don't have anything to do with it,

    25       certainly they can't inflate it.       That's basically --


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     1       and then, of course, Judge, that does not, again, put

     2       a fence around I'm sure the argument that they're

     3       going to advance, that doctors were deceived and

     4       other people, patients were deceived, etcetera.

     5       That's a different factual, evidentiary scenario.

     6       We're just talking about this misuse of terminology

     7       that is not only prejudicial.      It's extremely

     8       irrelevant.

     9                  THE COURT:     Okay.

    10                  MR. KEHOE:    Thank you.

    11                  THE COURT:     Thank you.      Does anybody else

    12       want to be heard on rebuttal for that?

    13                  MR. SUAREZ:    No, Your Honor.      Still blown

    14       away.

    15                  THE COURT:     All right.      Well, that will

    16       conclude the hearing, I believe.         Anything else that

    17       needs to be brought up?

    18                  MR. FOSTER:    Yes, Sir.      Mr. Harker and I

    19       did have the opportunity to discuss that issue.

    20                  THE COURT:     Yes.    Yes.    Tell me about

    21       that.

    22                  MR. FOSTER:    And I think Mr. Harker will

    23       explain to the Court what we discussed.

    24                  THE COURT:     Okay.

    25                  MR. HARKER:    Your Honor, two points to Mr.


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     1       Bosch's points.    One of them, I just want to make

     2       sure that the defendants understand in the indictment

     3       that the reason these patients' initial are automized

     4       has nothing to do with us preventing -- we're happy

     5       to provide them a list of who these patients are.

     6                  THE COURT:     Okay.

     7                  MR. HARKER:    That's only because it's

     8       protected health information.

     9                  THE COURT:     Right.

    10                  MR. HARKER:    On the issue that Mr. Foster

    11       raised, the government's position is that there is a

    12       difference between the unindicted co-conspirators who

    13       make up the balance of the $174 million on the one

    14       hand and all of the unindicted co-conspirators.         And

    15       in particular, there's one person who should probably

    16       have been indicted as part of this conspiracy because

    17       he's on one of these two spokes.       He doesn't happen

    18       to be on Mr. Foster's spoke.       He happens to be on Mr.

    19       Smith's spoke.    That person is the subject of an

    20       ongoing investigation.     I think everybody in this

    21       room probably knows who that person is.        The

    22       government is willing to identify by name the

    23       entities and persons who make up the balance of the

    24       $174 million to all the defendants.       We are not

    25       willing to identify the name of that person to make


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     1       it explicit as to who is the subject of an ongoing

     2       investigation, and that person is not responsible for

     3       any more money.

     4                  THE COURT:     Okay.

     5                  MR. HARKER:    If that makes sense.

     6                  MR. KEHOE:    With all due respect, Judge, I

     7       look forward to be enlightened because I represent

     8       Mr. Smith, and I don't know who he's talking about.

     9                  THE COURT:     All right.    Very good.    All

    10       right.   So you're going, you're going to provide the

    11       ones that you agree to provide except for that one

    12       individual?

    13                  MR. HARKER:    Yes, Your Honor.     The one that

    14       we -- when we say unindicted co-conspirator, what I'm

    15       talking about is people that the government believes

    16       that we could prove a case against with the evidence

    17       we know about now.

    18                  THE COURT:     Okay.   Mr. Foster?

    19                  MR. FOSTER:    Yes.    If he's going to provide

    20       that description of individuals, I think that

    21       satisfies my request.

    22                  THE COURT:     Okay.   All right.    Okay.

    23       Anything else we need to take up?       I appreciate your

    24       all's time.    It's 11:25, and appreciate the argument

    25       and your all being here today.


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     1                  ALL:   Thank you, Judge.

     2                  MS. OTTINGER:    All rise.

     3       THIS COMPLETES ALL MATTERS PRESENTED IN THIS HEARING.

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     1       Exhibit No. 1, Excel Record and Key, Evidence Folder

     2       Contents.

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     1       Exhibit No. 2, Three printouts of screen shots, phone

     2       numbers.

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     1       Exhibit No. 3, Subpoena, Synergy Recordings, Batch 8.

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     1       Exhibit No. 4, Synergy Recordings, Batch 8

     2       (3166485998).

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                                     CERTIFICATE

                        I, C.D. Neal, Notary Public and Court
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     2
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     3
             of the Motion Hearing in the case of UNITED STATES OF
     4
             AMERICA versus ANDREW ASSAD, ET AL as heard in United
     5
             States District Court, Eastern District of Tennessee
     6
             at Greeneville on the 3rd day of April 2019.
     7
                        WITNESS my hand and official seal at office
     8
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